 Case 7:23-cv-00144      Document 105-9           Filed on 08/01/24 in TXSD      Page 1 of 90




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION


TEXAS BANKERS ASSOCIATION;
RIO BANK, MCALLEN, TEXAS; and
AMERICAN BANKERS ASSOCIATION
                                    Plaintiffs,

v.                                                      Case No: 7:23-cv-00144

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his official
capacity as Director of the Consumer Financial
Protection Bureau,
                                   Defendants.


                               JOINT APPENDIX
                   OF ADMINISTRATIVE RECORD DESIGNATIONS
                                 VOLUME IX
Case 7:23-cv-00144   Document 105-9     Filed on 08/01/24 in TXSD       Page 2 of 90

TBA V. CFPB – JOINT APPENDIX DESIGNATIONS
Administrative Record Citation        Document Name

VOLUME I
1-85                                  Final Rule, Small Business Lending Under the
                                      Equal Credit Opportunity Act (Regulation B)
VOLUME II
86-170                                Final Rule, Small Business Lending Under the
                                      Equal Credit Opportunity Act (Regulation B)
                                      (continued)
VOLUME III
171-255                               Final Rule, Small Business Lending Under the
                                      Equal Credit Opportunity Act (Regulation B)
                                      (continued)
VOLUME IV
256-340                               Final Rule, Small Business Lending Under the
                                      Equal Credit Opportunity Act (Regulation B)
                                      (continued)
VOLUME V
341-422                               Final Rule, Small Business Lending Under the
                                      Equal Credit Opportunity Act (Regulation B)
                                      (continued)
VOLUME VI
423-507                               Proposed Rule, Small Business Lending Data
                                      Collection Under the Equal Credit Opportunity
                                      Act (Regulation B)
VOLUME VII
508-592                               Proposed Rule, Small Business Lending Data
                                      Collection Under the Equal Credit Opportunity
                                      Act (Regulation B)
                                      (continued)
VOLUME VIII
593-673                               Proposed Rule, Small Business Lending Data
                                      Collection Under the Equal Credit Opportunity
                                      Act (Regulation B)
                                      (continued)
VOLUME IX
1055-1069                             CFPB, Small Business Lending Rule—Proposed
                                      Data Points Chart (9/1/21)

                                       1
Case 7:23-cv-00144   Document 105-9      Filed on 08/01/24 in TXSD       Page 3 of 90




1147-1217                             Final Report of the Small Business Review Panel
                                      on the CFPB’s Proposals Under Consideration for
                                      the Small Business Lending Data Collection
                                      Rulemaking and Select Appendices
VOLUME X
1218-1366                             Final Report of the Small Business Review Panel
                                      on the CFPB’s Proposals Under Consideration for
                                      the Small Business Lending Data Collection
                                      Rulemaking and Select Appendices
                                      (continued)
VOLUME XI
1559-1637                             CFPB, SBREFA - Outline of Proposals Under
                                      Consideration and Alternatives Considered
                                      (9/15/20)
1638-1677                             CFPB, Small Business Lending Rule—Data Points
                                      Chart (3/30/23)
1810-1811                             SBA letter approving size standards (3/23/23)
2234-2241                             Bailey Allen et al, Bankers Digest, Comment on
                                      Implementing Section 1071
4201-4213                             CFPB, Small Business Compliance Cost Survey
14322-14324                           Comment from United Savings Credit Union
                                      (10/8/21)
14346-14348                           Comment from National Association of Federally-
                                      Insured Credit Unions (10/18/21)

14369-14372                           Comment from American Bankers Association et
                                      al. (11/3/21)
14407-14408                           Comment from US Small Business Administration
                                      - Office of Advocacy (11/23/21)
15652-15657                           Comment from Independent Bankers Association
                                      of Texas (12/27/21)
VOLUME XII
17199-17208                           Comment from Equipment Leasing and Finance
                                      Association (1/4/22)
17210-17223                           Comment from Farm Credit Council (1/4/22)
17973-17977                           Comment from Conference of State Bank
                                      Supervisors (1/6/22)



                                       2
Case 7:23-cv-00144   Document 105-9     Filed on 08/01/24 in TXSD      Page 4 of 90




18117-18149                           Comment from American Financial Services
                                      Association (1/6/22)
18385-18394                           Comment from US Small Business Administration
                                      - Office of Advocacy (1/6/22)
18478-18491                           Comment from Credit Union National Association
                                      (1/6/22)
18499-18513                           Comment from National Association of Federally-
                                      Insured Credit Unions (1/6/22)
VOLUME XIII
18557-18596                           Comment from Independent Community Bankers
                                      of America (1/6/22)
18840-18841                           Comment from Texas Farm Credit Services
                                      (1/6/22)
19173-19177                           Comment from Texas Bankers Association
                                      (1/6/22)
19305-19351                           Comment from American Bankers Association et
                                      al. (1/6/22)
19967-19995                           Comment from Center for Responsible Lending et
                                      al. (1/6/22)
23460-23464                           Comment from DLL Finance (9/13/17)
VOLUME XIV
23867-23881                           Comment from American Bankers Association et
                                      al. (9/14/17)
24291-24310                           Comment from American Financial Services
                                      Association (9/14/17)
24979-24981                           Comment from Independent Bankers Association
                                      of Texas (12/14/20)
25002-25011                           Comment from American Bankers Association
                                      (12/14/20)
25090-25097                           Comment from Credit Union National Association
                                      (12/14/20)
25143-25159                           Comment from Independent Community Bankers
                                      of America (12/14/20)




                                       3
                         Case 7:23-cv-00144         Document 105-9           Filed on 08/01/24 in TXSD            Page 5 of 90



Proposed data points for small business lending data collection
On September 1, 2021,the Consumer Financial Protection Bureau(Bureau)issued a notice of proposed rulemaking(NPRM)to implement
the small business lending data collection requirements setforthin section 1071 ofthe Dodd-Frank Act. This chart summarizes the data
points that covered financial institutions(FIs) would be required to collect and report with respect to small business applications for covered
credit transactions pursuant to proposed § 1oo2.107inthe NPRM. For more information onthe NPRM,visit
h~.tRS:f~www.~Qn$~m~rfin~,n~~gpv~iQ~1-rt~l~.



        poi                                                                              meets


    Unique identifier   107(a)(1)        FI would report an alphanumeric         Unique alphanumeric application or     FIs would be permitted to use
                                         application or loan identifier unique   loan number not to exceed 45           numbers generated solely for
                                         within the FI to the specific           characters. Must begin with the FI's   1071 data reporting or other
                                         application.                            Legal Entity Identifier(LEI).          p urposes as unique identifiers.


    Application date    107(a)(2)        FI would report application date        A complete calendardate (i.e.,         For an application that was not
                                         using either: (i) the date the          month, day, and year).                 submitted directly to the FI or its
                                         application was received bythe FI;                                             affiliate, the FI would be
                                         or (ii) the date shown on a paper or                                           permitted to report the
                                         electronic application form.                                                   application date as the date the
                                                                                                                        application was received by the
                                                                                                                        party that initially received the
                                                                                                                        application, the date the
                                                                                                                        application was received by the
                                                                                                                        FI, orthe date shown on the
                                                                                                                        application form.

                                                                                                                        The NPRM includes a proposed
                                                                                                                        safe harbor so that an FI would
                                                                                                                        not violate 1071 if it reports an
                                                                                                                        application date that is within


1       CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                              AdminRecord-001055
                     Case 7:23-cv-00144          Document 105-9             Filed on 08/01/24 in TXSD              Page 6 of 90




                                                                                                                         three calendar days of the
                                                                                                                         actual application date.


Application         107(a)(3)        FI would report the means by which One of the following: (1) In-person;             The proposed commentary
method                               the applicant submitted the          (2) Telephone;(3) Mail; or                     provides additional information
                                     application from the specified list. (4) Online.                                    on how the Fl would selectthe
                                                                                                                         application method if the
                                                                                                                         applicant communicated or
                                                                                                                         provided information via
                                                                                                                         m ultiple methods orchannels.


Application         107(a)(4)        FI would report whether the              One of the following: (1)the
recipient                            applicant submitted the application applicant submitted the application
                                     d irectly to the FI or its affiliate, or d irectly to the FI or its affiliate; or
                                     whetherthe applicant submitted the (2) the applicant submitted the
                                     application indirectly to the FI via a   application indirectly to the FI via a
                                     third party.                             third party.


Credit type         107(a)(5)        FI would report credit type in three      One of the credit products from the
                                     parts: (1)credit product(from             following list: (1) Term loan—
                                     specified list); (2) guarantee(s)         unsecured; (2) Term loan—secured;
                                    (from specified list);(3) loan term.      (3) Line of credit—unsecured;
                                                                              (4) Line of credit—secured;
                                                                              (5) Credit card;(6) Merchant cash
                                                                               advance;(7) Other sales-based
                                                                               financing transaction;(8) Other(with
                                                                               additional information provided via
                                                                               free form text);(9) Not provided by




2   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                             AdminRecord-001056
                     Case 7:23-cv-00144        Document 105-9            Filed on 08/01/24 in TXSD         Page 7 of 90




                                                                           applicant and otherwise
                                                                           undetermined.

                                                                            One or more types of guarantees
                                                                           from the following list:(1) Personal
                                                                            g uarantee—owner(s);(2) Personal
                                                                            g uarantee—non-owner(s);(3) SBA
                                                                            g uarantee-7(a) program;(4)SBA
                                                                            g uarantee-504 program;(5)SBA
                                                                            g uarantee—other;(6) USDA
                                                                            g uarantee; (7) FHA guarantee;
                                                                           (8) Bureau of Indian Affairs
                                                                            g uarantee; (9) Other Federal
                                                                            g uarantee; (10) State or local
                                                                            government guarantee;(11) Other
                                                                            g uarantee (with additional
                                                                            information provided via free-form
                                                                            text);(12) No guarantee.

                                                                           The number of months in the loan
                                                                           term for products that have loan
                                                                           term or "not applicable" for products
                                                                           that do not have a loan term and for
                                                                           applications that d id not specify a
                                                                           loan term.



Credit purpose      107(a)(6)        Fl would report credit purpose(s)     Up to three credit purposes from the
                                     from a specified list.                following list: (1) Purchase,
                                                                           construction/improvement, or
                                                                           refinance of owner-occupied
                                                                           d welling(s);(2) Purchase,



3   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                          AdminRecord-001057
                     Case 7:23-cv-00144         Document 105-9           Filed on 08/01/24 in TXSD              Page 8 of 90




                                                                              construction/improvement, or
                                                                              refinance of non-owner-occupied
                                                                              d welling(s);(3) Purchase,
                                                                              construction/improvement, or
                                                                              refinance of non-owner occupied,
                                                                              non-dwelling real estate;
                                                                             (4) Purchase, construction/
                                                                              i mprovement, or refinance of owner-
                                                                              occupied, non-dwelling real estate;
                                                                             (5) Purchase, refinance, or
                                                                              rehabilitation/repair of motor
                                                                              vehicle(s)(including light and heavy
                                                                              trucks); (6) Purchase, refinance, or
                                                                              rehabilitation/repair of equipment;
                                                                             (7) Working capital (includes
                                                                              inventory or floor planning);
                                                                             (8) Business start-up; (9) Business
                                                                              expansion;(10) Business
                                                                              acquisition;(11) Refinance existing
                                                                              debt(otherthan refinancings listed
                                                                              above);(12) Line increase;
                                                                             (13) Other(with additional
                                                                              information provided via free-form
                                                                              text);(14) Not provided by applicant
                                                                              and otherwise undetermined;
                                                                             (15) Not applicable.


Amount applied for 107(a)(7)         Fl would report the initial amount of   One of the following: (1) Dollar        Fl would not be required to
                                     credit or the credit limit initially    amount for initial amount of            report amounts discussed
                                     requested by the applicant at the       credit/credit limit requested by        before an application is made
                                     application stage or later.             applicant; (2) Dollar amount of         b ut would be required to report


4   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                         AdminRecord-001058
                         Case 7:23-cv-00144         Document 105-9          Filed on 08/01/24 in TXSD           Page 9 of 90




                                                                                "firm offer," if application is in   the initial amount requested at
                                                                                response to a firm offer that        the application stage or later.
                                                                                specifies an amount;(3) Dollar
                                                                                amount underwritten (if applicant
                                                                                does not request particular amount
                                                                                b ut FI underwrites for a specific
                                                                                amount);(4) Not provided by
                                                                                applicant and otherwise
                                                                                undetermined; (5) Not applicable (if
                                                                                the product applied for does not
                                                                                involve a specific amount).


    Amountapproved      107(a)(8)        FI would report the credit amount or   Only report amounts for originated
    or originated                        credit limit approved or originated,   credit or applications that are
                                         using: (1)the amount of the            approved but not accepted.
                                         originated loan for a closed-end
                                         origination;(2)the amount              For applications that are denied,
                                         approved fora closed-end loan          closed for incompleteness, or
                                         application that is approved but not   withdrawn by the applicant, the FI
                                         accepted; or(3)the amount ofthe        would report "not applicable."
                                         credit limit approved for open-end
                                         credit.


    Action taken        107(a)(9)        FI would report one of five specified One of the following: (1) Originated;    Incomplete applications would
                                         actions taken on the application.     (2) Approved but not accepted;           include (1)instances where an
                                                                               (3) Denied;(4) Withdrawn by              FI tookadverse action on the
                                                                                applicant; (5) Incomplete.              basis of incompleteness, and
                                                                                                                       (2) instances where the FI
                                                                                                                        provided a written notice of
                                                                                                                        incompleteness and the


5       CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                          AdminRecord-001059
                        Case 7:23-cv-00144         Document 105-9          Filed on 08/01/24 in TXSD             Page 10 of 90




                                                                                                                        applicant did not respond in the
                                                                                                                        time specified in the notice.

                                                                                                                        If an FI makes a counteroffer
                                                                                                                        and the applicant declines the
                                                                                                                        counteroffer or fails to respond,
                                                                                                                        the FI would report the action
                                                                                                                        taken as a denial. If the
                                                                                                                        applicant agrees to proceed
                                                                                                                        with the counteroffer, the FI
                                                                                                                        would report the actiontaken
                                                                                                                        based on the eventual
                                                                                                                        d isposition of the counteroffer
                                                                                                                        considered.


    Action taken date   107(a)(10)       FI would report the date the action   A complete calendar date (i.e.,
                                         was taken.                            month, day, and year).


    Denial reasons      107(a)(11)       For denied applications only, Fl      Up to four principal denial reasons
                                         would report the principal reason(s) from the following list (as
                                         the application was denied from a     applicable):(1) Credit characteristics
                                         specified list.                       of the business;(2) Credit
                                                                               characteristics of the principal
                                                                               owner(s) or guarantor(s);(3) Use of
                                                                               loan proceeds;(4) Cashflow;
                                                                              (5) Collateral; (6) Time in business;
                                                                              (7) Government criteria;
                                                                              (8) Aggregate exposure;
                                                                              (9) Unverifiable information;
                                                                              (10) Other(with additional


6       CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                            AdminRecord-001060
                      Case 7:23-cv-00144       Document 105-9          Filed on 08/01/24 in TXSD              Page 11 of 90




                                                                           information provided via free form
                                                                           text).


Pricing information   107(a)(12)     FI would report pricing information   If a fixed rate transaction: the
                                     fororiginated creditand creditthat    interest rate.
                                     is approved but not accepted.
                                                                            If a variable-rate transaction:the
                                                                            margin, indexvalue, and index
                                                                            name. Index name is reported using
                                                                            one of the following:(1) Wall Street
                                                                            Journal Prime;(2)6-month CD rate;
                                                                           (3) 1-year T-Bill; (4)3-year T-Bill;
                                                                           (5) 5-yearT-Note;(6) 12-month
                                                                            average of 10-yearT-Bill;(7) Cost of
                                                                            Funds Index-National;(8) Cost of
                                                                            Funds Index-11th District;(9) Other
                                                                           (with additional information provided
                                                                            via free-form text).

                                                                           For a merchant cash advance or
                                                                           other sales-based financing
                                                                           transaction: the difference between
                                                                           the amount advanced and the
                                                                           amount to be repaid.

                                                                           The amount of thetotal origination
                                                                           charges.

                                                                           The amount of the total broker fees
                                                                           and whetherthe applicant paid the




7   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                              AdminRecord-001061
                      Case 7:23-cv-00144        Document 105-9          Filed on 08/01/24 in TXSD             Page 12 of 90




                                                                             broker fees directly to broker or to FI
                                                                             ford elivery to broker.

                                                                             The amount of thetotal non-interest
                                                                             charges scheduled to be imposed
                                                                             over the first annual period.

                                                                             Whetherthe FI could have included
                                                                             a prepayment penalty under its
                                                                             policies and procedures, and
                                                                             whetherthe terms of the transaction
                                                                             actually include prepayment
                                                                             penalty.


Census tract          107(a)(13)      FI would report a census tract          Census tract based on one of the         The NPRM includes a proposed
(principal place of                   based on an address collected in       following: (1) Address where the          safe harbor for erro rs when
 business)                            the application, or during review or    loan proceeds will principally be        using an FFIEC or Bureau
                                      origination of the credit. FI also      applied, if known;(2) If (1) is not      geocoding tool correctly.
                                      reports the type of address used to     known, location of borrower's main
                                      determine the census tract.             office or headquarters;(3) If neither
                                                                             (1) or(2)are known, another
                                                                              addressor location associated with
                                                                             the applicant.

                                                                             FI also reports which of the three
                                                                             add ress types was used to
                                                                             determine the census tract.

                                                                             If no address or location is known, FI
                                                                             would report "not provided by




8    CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                        AdminRecord-001062
                       Case 7:23-cv-00144         Document 105-9            Filed on 08/01/24 in TXSD            Page 13 of 90




                                                                                 applicant and otherwise
                                                                                 undetermined."


    Gross annual       107(a)(14)       FI would report the GAR of the           The dollaramount of the applicant's      If the FI verifies the GAR,it
    revenue(GAR)                        applicant during the last fiscal year.   GAR d uring its last fiscal year prior   would report the dollar amount
                                                                                 to when the information is collected.    of verified GAR. If the FI does
                                                                                                                          not verify the GAR, it would
                                                                                 If specific GAR cannot be collected      report the dollar amount of GAR
                                                                                 from an applicant, FI would report       as reported by applicant orthe
                                                                                 "not provided by applicant and           GAR dollar amount that the Fl
                                                                                 otherwise undetermined."                 otherwise obtained.

                                                                                                                          The proposed commentary
                                                                                                                          provides a model question that
                                                                                                                          an FI could use too btain the
                                                                                                                          GAR from the applicant.

                                                                                                                          Affiliate revenue may or may
                                                                                                                          not be collected, depending on
                                                                                                                          FI practice.


North American         107(a)(15)       FI would report the NAICS code           Six-digit NAICS code.                    FI would use NAICS codes in
Industry                                appropriate forthe applicant.                                                     effect as of Jan. 1 of the
Classification                                                                   If the NAICS code cannot be              collection year.
System (NAICS)                                                                   collected, Fl would report "not
code                                                                             provided by applicant and otherwise      FI would be permitted to rely on
                                                                                 undetermined."                           statements of or information
                                                                                                                          provided by the applicant in
                                                                                                                          collecting and reporting the
                                                                                                                          NAICS code (such as using the



9      CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                              AdminRecord-001063
                     Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD            Page 14 of 90




                                                                                                                 NAICS code on an applicant's
                                                                                                                 tax return), or on a code
                                                                                                                 o btained through the FI's use of
                                                                                                                 b usiness information products
                                                                                                                (such as company profiles or
                                                                                                                 b usiness credit reports that
                                                                                                                 provide a NAICS code).

                                                                                                                If the FI does not rely on such
                                                                                                                information, but instead
                                                                                                                identifies the NAICS code for
                                                                                                                an applicant itself, the NPRM
                                                                                                                includes a proposed safe
                                                                                                                harbor for an incorrect NAICS
                                                                                                                code entry, so long as the first
                                                                                                                two digits are correct and the FI
                                                                                                                maintains procedures
                                                                                                                reasonably adapted to correctly
                                                                                                                identify the subsequent four
                                                                                                                d ig its.


 Numberofworkers 107(a)(16)           FI would report the number of      Numberof workers. Includes full-       If the FI verifies the number of
                                      workers of the applicant.          time, part-time, and seasonal          workers, it would report the
                                                                         workers as well as contractors         verified number. If the FI does
                                                                         working primarily for the applicant,   not verify the number of
                                                                         b ut does not include principal        workers, it would report the
                                                                         owners.                                number reported by applicant or
                                                                                                                that the FI otherwise obtained.
                                                                         If number of workers cannot be
                                                                         collected, Fl would report "not        The proposed commentary
                                                                                                                provides a model question that


10   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                     AdminRecord-001064
                     Case 7:23-cv-00144         Document 105-9          Filed on 08/01/24 in TXSD              Page 15 of 90




                                                                             provided by applicant and otherwise       an FI could use too btain the
                                                                             undetermined."                            number of workers from the
                                                                                                                       applicant.




 Time in business    107(a)(17)       Fl would report the applicant's time   Number of years that the applicant        If the FI verifies TIB, it would
(TIB)                                 in business, expressed in years.       has been in business.                     report the verified TIB. If the FI
                                                                                                                       d oes not verify TIB, it would
                                                                             If the FI relied on the applicant's TIB   report the TIB provided by
                                                                             in making the credit decision, the FI     applicant orthat the FI
                                                                             would report the TIB it relied on in      otherwise obtained.
                                                                             making the credit decision. If the FI
                                                                             d id not rely on the applicant's TIB in
                                                                             making the credit decision, the FI
                                                                             would collect and report TIB. FI
                                                                             would be required to indicate (1) if
                                                                             applicant hasn't started its business
                                                                             yet or(2) if applicant has been in
                                                                             b usiness less than a year.


 Minority-owned      107(a)(18)       FI would report applicant's          FI would report applicant's response        Fl would report solely based on
 business status                      response to the FI's                (yes, no, or "I do not wish to provide       applicant-provided information;
                                      § 1002.107(a)(18) inquiry regarding this information") orthatthe                 no verification or visual
                                      whetherthe applicant isa minority- applicant did not respond.                    o bservation and/or surname
                                      owned business.                                                                  analysis would be required or
                                                                           FI would also report whether it is          permitted.
                                                                           reporting this information based on
                                                                           previously collected data.                  FI would be required to inform
                                                                                                                       applicantthat it is not required
                                                                                                                       to provide this information.



11   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                            AdminRecord-001065
                     Case 7:23-cv-00144         Document 105-9         Filed on 08/01/24 in TXSD             Page 16 of 90




 Women-owned         107(a)(19)       FI would report applicant's          FI would report applicant's response      Fl would report solely based on
 business status                      response to the FI's                (yes, no, or "I do not wish to provide     applicant-provided information;
                                      § 1002.107(a)(19) inquiry regarding this information") orthatthe               no verification or visual
                                      whetherthe applicant is a women-     applicant did not respond.                o bservation and/or surname
                                      owned business.                                                                analysis would be required or
                                                                           FI would also report whether it is        permitted.
                                                                           reporting this information based on
                                                                           previously collected data.                FI would be required to inform
                                                                                                                     applicantthat it is not required
                                                                                                                     to provide this information.


 Ethnicity of        107(a)(20)       Generally, FI would report            If the FI is reporting applicant-        FI would be required to inform
 principal owners)                    applicant's response to the FI's      provided information: Foreach            applicantthat it is not required
                                      § 1002.107(a)(20) inquiry regarding   principal owner, the FI would report     to provide this information.
                                      the ethnicity of the applicant's      the aggregate categories and
                                      principal owner(s). However, in       disaggregated subcategories              The proposed commentary and
                                      some circumstances,the FI would       selected by the applicant, that the      proposed sample data
                                      report the ethnicity of one or more   applicant did not wis h to provide the   collection form include the
                                      principal owners based on visual      information, orthatthe applicant did     aggregate categories and
                                      observation and/or surname.           not respond (as applicable).             d isaggregated subcategories
                                                                                                                     that would be used when
                                                                            If the FI is reporting based on          collecting and reporting
                                                                            visual observation and/or                ethnicity.
                                                                            surname: For at least one principal
                                                                            owner, the FI would report using the
                                                                            aggregate categories only. For
                                                                            other principal owners, the FI would
                                                                            report that the applicant did notwish
                                                                            to provide the information orthat the




12   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                          AdminRecord-001066
                     Case 7:23-cv-00144         Document 105-9           Filed on 08/01/24 in TXSD             Page 17 of 90




                                                                              applicant did not respond (as
                                                                              applicable).

                                                                              If the applicant has fewer than
                                                                              fourprincipal owners: As
                                                                              appropriate, the FI would reportthat
                                                                              this requirement is not applicable.

                                                                              FI would also report whether or not
                                                                              the FI is reporting the principal
                                                                              owner's ethnicity based on visual
                                                                              observation and/or surname and
                                                                              whetherthe FI is reporting based on
                                                                              previously collected data.


 Race of principal   107(a)(20)       Generally, Fl would report              If the FI is reporting applicant-        FI would be required to inform
 owner(s)                             applicant's response to the FI's        provided information: Foreach            applicantthat it is not required
                                      § 1002.107(a)(20) inquiry regarding     principal owner, the FI would report     to provide this information.
                                      the race of the applicant's principal   the aggregate categories and
                                      owner(s). However, in some              disaggregated subcategories              The proposed commentary and
                                      circumstances,the FI would report       selected by the applicant, that the      proposed sample data
                                      the race of one or more principal       applicant did not wis h to provide the   collection form include the
                                      owners based on visual observation      information, orthatthe applicant did     aggregate categories and
                                      and/or surname.                         not respond (as applicable).             d isaggregated subcategories
                                                                                                                       that would be used when
                                                                              If the FI is reporting based on          collecting and reporting race.
                                                                              visual observation and/or
                                                                              surname: For at least one principal
                                                                              owner, the FI would report using the
                                                                              aggregate categories only. For
                                                                              other principal owners, the FI would



13   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                            AdminRecord-001067
                     Case 7:23-cv-00144         Document 105-9          Filed on 08/01/24 in TXSD           Page 18 of 90




                                                                            report that the applicant did not wish
                                                                            to provide the information or that the
                                                                            applicant did not respond (as
                                                                            applicable).

                                                                            If the applicant has fewer than
                                                                            fourprincipal owners: As
                                                                            appropriate, the FI would reportthat
                                                                            this requirement is not applicable.

                                                                            FI would also report whether or not
                                                                            the FI is reporting the principal
                                                                            owner's race based on visual
                                                                            observation and/or surname and
                                                                            whetherthe FI is reporting based on
                                                                            previously collected data.


Sex of principal     107(a)(20)       FI would report applicant's          For each principal owner,the FI           Fl would report solely based on
owner(s)                              response to the FI's                 would report the category or              applicant-provided information;
                                      § 1002.107(a)(20) inquiry regarding categories selected by the applicant       no verification or visual
                                      the sex of applicant's principal    (male, female, and/orthatthe               o bservation and/or surname
                                      owner(s).                            principal owner prefers to self-          analysis would be required or
                                                                           describe with additional information      permitted.
                                                                           provided via free form text), that the
                                                                          applicant did not wis h to provide the     FI would be required to inform
                                                                           information, orthatthe applicant did      applicantthat it is not required
                                                                           not respond (as applicable).              to provide this information.

                                                                            If the applicant has fewerthan four
                                                                            principal owners, as appropriate, the




14   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                          AdminRecord-001068
                     Case 7:23-cv-00144        Document 105-9             Filed on 08/01/24 in TXSD         Page 19 of 90




                                                                             FI would report that this requirement
                                                                             is not applicable.


 Numberof            107(a)(21)       FI would report the number of the      Number of principal owners (i.e., a   Generally, the FI would report
 principal owners                     applicant's principal owners.          number from zero to four).           the information provided by the
                                                                                                                  applicant. However, if the FI
                                                                             If number of principal owners cannot verifies the number of principal
                                                                             be collected, FI would report "not   owners, the Fl would reportthe
                                                                             provided by applicant and otherwise verified information.
                                                                             undetermined."




15   CONSUMER FINANCIAL PROTECTION BUREAU I PROPOSED DATA POINTS FOR SMALL BUSINESS LENDING DATA COLLECTION




                                                                                                                                      AdminRecord-001069
Case 7:23-cv-00144   Document 105-9   Filed on 08/01/24 in TXSD   Page 20 of 90




   nal Report of the S all b usiness * eview ~ anel on t
       FPB's Proposals       er Consideration for the
    mall 611 si ess Lending 0ata Collection Rulemaking

                              December 14, 2020




                                                                       AdminRecord-001 147
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 21 of 90




Table of contents
1. Introduction                                                                               1
2. Background                                                                                 2
    2.1 Market background                                                               2
    2.2 Statutory authority                                                             4
    2.3 Closely-related Federal laws and regulations                                    4
3. Overview of proposals and alternatives under consideration                                 6
    3.1 Scope of the rulemaking                                                         7
    3.2 Definition of "financial institution"(lender coverage)                          7
    3.3 Definition of"small business" applicants                                        7
    3.4 Definitions of"women-owned business," "minority-owned business," and
         "minority individual"                                                          8
    3.5 Product coverage                                                                8
    3.6 Definition of an "application"                                                  8
    3.7 Mandatory data points                                                           9
    3.8 Discretionary data points                                                       9
    3.9 Timing of data collection                                                       9
    3.10 Shielding data from underwriters and other persons (firewall)                  9
    3.11 Applicants' right to refuse to provide certain information                    10
    3.12 Compiling, maintaining, and reporting 1071 data to the Bureau                 10
    3.13 Privacy considerations involving Bureau publication of 1071 data              10
    3.14 Implementation period                                                         10
    3.15 Potential impacts on small entities                                           11
4. Applicable small entity definitions                                                       12
5. Small entities that may be subject to the proposals under consideration                   13
6. Summary of small entity outreach                                                          14
    6.1 Summary of the Panel's outreach meetings with small entity representatives     14
    6.2 Other outreach efforts, including to small entities                            15
7. List of small entity representatives                                                      15
8. Summary of feedback from small entity representatives                                      16
    8.1 General feedback from SERB                                                         17
    8.2 SER feedback related to the scope of the rulemaking                                18
    8.3 SER feedback related to the definition of "financial institution"(lender coverage) 18
    8.4 SER feedback related to the definition of "small business" applicants              20
    8.5 SER feedback related to the definitions of"women-owned business," "minority-
         owned business," and "minority individual"                                        22
    8.6 SER feedback related to product coverage                                           22
    8.7 SER feedback related to the definition of an "application"                         24
    8.8 SER feedback related to mandatory data points                                      25
    8.9 SER feedback related to discretionary data points                                  30
    8.10 SER feedback related to the timing of data collection                             32
    8.11 SER feedback related to shielding data from underwriters and other persons
        (firewall)                                                                         33
    8.12 SER feedback related to applicants' right to refuse to provide certain information33



     FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                        AdminRecord-001148
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 22 of 90




   8.13 SER feedback related to compiling, maintaining, and reporting 1071 data to the
        Bureau                                                                             34
   8.14 SER feedback related to privacy considerations involving Bureau publication of
        1071 data                                                                          34
   8.15 SER feedback related to the implementation period                                  36
   8.16 SER feedback related to potential impacts on small entities                        37
      8.16.1 SER feedback related to the Bureau's impact methodology                       37
      8.16.2 SER feedback related to one-time costs                                        38
      8.16.3 SER feedback related to ongoing costs                                         39
      8.16.4 SER feedback related to additional potential impacts of the eventual 1071 rule 40
      8.16.5 SER feedback related to the cost and availability of credit to small entities 40
9. Panel findings and recommendations                                                            41
    9.1 Findings regarding number and types of small entities affected                 41
    9.2 Findings and recommendations regarding related Federal laws and regulations 42
    9.3 Compliance burden and potential alternative approaches                         43
       9.3.1 General recommendations                                                   43
       9.3.2 Recommendations regarding scope of the rulemaking                         43
       9.3.3 Recommendations regarding definition of"financial institution" (lender
               coverage)                                                               43
       9.3.4 Recommendations regarding definition of "small business" applicants       44
       9.3.5 Recommendations regarding definitions of"women-owned business,"
              "minority-owned business," and "minority individual"                     44
       9.3.6 Recommendations regarding product coverage                                44
       9.3.7 Recommendations regarding definition of an "application"                  45
       9.3.8 Recommendations regarding mandatory data points                           45
       9.3.9 Recommendations regarding discretionary data points                       46
       9.3.10 Recommendations regarding the timing of data collection                  47
       9.3.11 Recommendations regarding shielding data from underwriters and other
               persons (firewall)                                                      47
       9.3.12 Recommendations regarding applicants' right to refuse to provide certain
               information                                                             47
       9.3.13 Recommendations regarding compiling, maintaining, and reporting 1071 data
               to the Bureau                                                           47
       9.3.14 Recommendations regarding privacy considerations involving Bureau
               publication of 1071 data                                                47
       9.3.15 Recommendations regarding implementation period                          48
       9.3.16 Recommendations regarding potential impacts on small entities            48
Appendix A: Written Feedback Submitted by Small Entity Representatives                       49
Appendix B: List of Materials Provided to Small Entity Representatives                      137
Appendix C: Outline of Proposals Under Consideration and Alternatives
  Considered                                                                                138
Appendix D: High-Level Summary of Proposals Under Consideration                             218
Appendix E: Discussion Guide for Small Entity Representatives                               225
Appendix F: Panel Outreach Meetings Presentation Materials                                  261




     FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001149
 Case 7:23-cv-00144              Document 105-9              Filed on 08/01/24 in TXSD                 Page 23 of 90




 1. Introduction
Under the Small Business Regulatory EnforcementFairness Act(SBREFA), which amended the
Regulatory Flexibility Act(RFA), the Consumer Financial Protection Bureau(Bureau or CFPB)
must convene and chair a Small Business Review Panel(Panel)if it is considering a proposed
rule that could have a significant economic impact on a sub stantial number of small entities.1
The Panel considers the impact of the proposals under consideration by the Bureau and obtains
feedback from representatives ofthe small entities that would likely be subject to the rule. The
Panel is comprised of a representative from the Bureau,the Chief Counsel for Advocacy of the
Small Business Administration(SBA), and a representative from the Office ofInformation and
Regulatory Affairs(OIRA)in the Office ofManagement and Budget(OMB).

 This Panel Report addresses the Bureau's small business lending data collection rulemaking.
 The Bureau is in the process of writing proposed regulations to implement section 1071 ofthe
 Dodd-Frank Wall Street Reform and Consumer Protection Act(Dodd-Frank Act).2 Section 1071
 of the law amended the Equal Credit Opportunity Act(ECOA)to require financial institutions
(FIs) to compile, maintain, and submit to the Bureau certain data on applications for creditfor
 women-owned, minority-owned, and small businesses. On September 15, 2020,the Bureau
 issued its Outline of Proposals under Consideration and Alternatives Considered (Outline)for
 this rulemaking.I

In accordance with the RFA,the Panel conducts its review at a preliminary stage of the Bureau's
rulemaking process. The Panel's findings and discussion here are based on information available
at the time the Panel Report was prepared and therefore may not reflect the final findings of the
Bureau in the process of producing a notice ofproposed rulemaking(NPRM). As the Bureau
proceeds in the rulemaking process,including taking actions responsive to the feedback received
from small entity representatives(SERB)and the findings of this Panel, the agency may conduct
additional analyses and obtain additional information. This Panel Report reflects feedback
provided by the SERB and identifies potential ways for the Bureau to shape the proposals under
consideration to minimize the burden of an eventual 1071 rule on small entities while achieving
the purposes of the rulemaking. Options identified by the Panel for reducing the regulatory
impact on small entities of the present rulemaking may require further consideration, information
collection, and analysis by the Bureau to ensure that the options are practicable, enforceable, and
consistent with the Dodd-Frank Act. Pursuant to the RFA,the Bureau will consider the Panel's
findings when preparing the initial regulatory flexibility analysis in the eventual NPRM. This


 i 5 U.S.C. 609(b).
 2 Dodd-Frank Wall Street Reform and Consumer Protection Act,Public Law 111-203, section 1071, 124 Stat. 1376,2056(2010)

 (section 704BofECOA was added by section 1071 ofthe Dodd-FrankAct)(codified at 15 U.S.C. 1691c-2). For ease of
  reading,this documentrefers to the provisions of70413in a shorthand expressed in terms ofsection 1071. For example, when
  this documentrefers to "section 1071(b)," itis employingthis shorthand to refer to section 704B(b)ofECOA,which is
  codified at 15 U.S.C. 1691c-2(b).

 3 Bureau ofConsumer Fin. Prot.,Small Business Advisory Review Panelfor Consumer FinancialProtection Bureau Small
   Business Lending Data Collection Rulemaking Outline ofProposals Under Consideration andAlternatives Considered(Sept.
   15,2020),https:Hfiles.consumerfinance.&ov/f/documents/cfpb1071-sbreta outline-of-proposals-under-consideration 2010-
   {)9,1~ti1.




 1     FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
       CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                AdminRecord-001150
  Case 7:23-cv-00144                  Document 105-9                 Filed on 08/01/24 in TXSD                      Page 24 of 90




 Panel Reportwill be included in the public record for the Bureau's small business lending data
 collection rulemaking.

  This Panel Reportincludes the following:

      • A description ofthe proposals that are being considered by the Bureau and that were
        reviewed by the Panel;

      • Background information on small entities that would likely be subject to those proposals
        and on the particular SERB selected to advise the Panel;

      • A discussion ofthe feedback from and recommendations made by the SERB; and

      • A discussion ofthe findings and recommendations ofthe Panel.

 In particular, the Panel's findings and recommendations address the following:

      • A description ofand, where feasible, an estimate ofthe number and type ofsmall entities
        likely impacted by the proposals under consideration;

      • A description ofprojected compliance requirements of all aspects ofthe proposals under
        consideration;

      • A description of alternativesto the proposals under consideration that may accomplish
        the stated objectives of the Bureau's rulemaking and that may minimize the economic
        impact on small entities of the proposals under consideration; and

      • An identification, to the extent practicable, ofrelevant Federal laws or regulations that
        may duplicate, overlap, or conflict with the proposals under consideration.


 2. Background

 2.1 Market background

  Small businesses play a key role in fostering community development and fueling economic
  growth both nationally and in their local communities.4 In 2017, small businesses in the United
  States employed 60 million people, or about 47 percent ofthe private workforce.' Women-
  owned and minority-owned small businesses play an important role in supporting their local
  communities.6 According to the Census Bureau, there are more than 27.6 million small


  4 Bureau ofConsumer Fin. Prot.,Key dimensions ofthe small business lending landscape(May 2017),
    h~_;__ii{~, ~t~q~ui~i~i3ii~_iii~c.gu~:iJ~xurucni5 2~iI 7ti ~, (<: lsnr:c~~sions Small 13usmcs, Icnding-Laudscape:pdf.

'U.S. Census Bureau 2017 Statistics ofU.S. Businesses. See generally https://v%,Nvw.census.go_v_/programs surveys/susb.html.

 6 Bureau ofConsumer Fin. Prot.,Key dimensions ofthe small business lending landscape(Mav 2017),
   http fi(. ~"JI- ,:::1~f f : r1ancc.goVA (4d ":racnta 2J170 c1'p1) (<:_ 1 in;:Lnti ,:-, Smail- Business- Lotiding-Landscape.-pdf.




 2       FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
         CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                              AdminRecord-001151
Case 7:23-cv-00144                 Document 105-9                 Filed on 08/01/24 in TXSD                    Page 25 of 90




businesses in the United States. More than 7.9 million ofthese businesses are minority-owned
and over 9.8 million are women-owned.'

Access to financing is a crucial componentto the success ofsmall businesses. Small
businesses—including women-owned and minority-owned small businesses—need access to
credit to smooth out business cash flows and to enable entrepreneurial investments that take
advantage of, and sustain,opportunities for growth. The marketthese businesses turn to for
credit is vast and complex. Small businesses have many options when it comes to financing,
including products and providers. Using publicly available data and informed by conversations
with market participants, the Bureau estimated in 2017 that the small business financing market
at that time was roughly $1.4 trillion.8

However, market-wide data on loans to small businesses currently is very limited. The largest
sources of information on lending by depository institutions(DIs)are the Federal Financial
Institutions Examination Council(FFIEC)and National Credit Union Administration(NCUA)
Consolidated Reports of Condition and Income(Call Reports)and reporting under the
Community Reinvestment Act of 1977(CRA). Under each ofthese reporting regimes, small
loans to businesses ofany size are used in whole or in part as a proxy for loans to small
businesses. The FFIEC Call Report captures banks' outstanding number and amount ofsmall
loans to businesses(that is, loans originated under $1 million to businesses of any size; small
loans to farms are those originated under $500,000).9 The NCUA Call Report captures data on
all loans over $50,000 to membersfor commercial purposes, regardless of any indicator about
the business's size.10 The CRA requires banks and savings associations with assets over a
specified threshold (currently $1.305 billion)to reportloans in original amounts of $1 million or
less to businesses; reporters are asked to indicate whether the borrower's gross annual revenue is
$1 million or less, if they have that information.ll There are no similar sources ofinformation
aboutlending to small businesses by non-DIs.




7 See U.S. Census Bureau Survey ofBusiness Owners(2012). The Survey ofBusiness Owners provides statistics on non-
    employer and employer firms. The Census Bureau's 2018American Business Survey(ABS)provides more recent statistics
    only on employer firms. Accordingto the ABS,there are 5.7 million employer businesses in the United States. More than one
    million ofthese businesses are minority-owned and more than 1.1 million are women-owned.
s Bureau ofConsumer Fin. Prot.,Key dimensions ofthe small business lending landscape(May 2017),
    https:Hfles.COnsumerfnance.govif/documents/201705 cfpb Kex-Dimensions-Small-Business-Lending-Landscape:pd#;
9 See Fed. Fin. Insts. Examination Council,Reporting Forms 3l, 41, and5l,https://www.ffiec.gov/ffiec report forms.htm(last
    visited Dec. 9,2020).

10 See Nat'l Credit Union Admin.,Call ReportForm 5300(June 2020),https://wtiwv.ncua.gov/tiles/publications regulations/
  form-5300;   june-202QpdY:
ii See Fed. Fin. Insts. Examination Council,A Guide to CRA Data Collection and Reporting, at 11,13(2015),
                          'ca ~l r   (i , l,.    ~_uc c. u;il. Small business loans are defined for CRA purposes as loans whose
   original amounts are $1 million or less and that were reported on the institution's Call Report or Thrift Financial Report as
   either "Loans secured by nonfarm or nonresidential real estate" or "Commercial and industrial loans." Small farm loans are
   defined for CRA purposes as loans whose original amounts are $500,000 or less and were reported as either "Loans to finance
   agricultural production and other loans to farmers"or "Loans secured by farmland." Id. at 11. Beginning in 2023,national
   banks supervised by the Office ofthe Comptroller ofthe Currency with assets greater than $2.5 billion will be required to
   report loans of$1.6 million or less, and indicate whether the borrovA cr's gross annual review is $1.6 million or less. See 85 FR
  34734(June 5,2020),https. _ ~_~~. ovinto ~2'




3        FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
         CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                        AdminRecord-001152
 Case 7:23-cv-00144               Document 105-9              Filed on 08/01/24 in TXSD                 Page 26 of 90




2.2 Statutory authority

In the Dodd-Frank Act, which was enacted "[t]o promote the financial stability ofthe United
States by improving accountability and transparency in the financial system," Congress directed
the Bureau to adopt regulations governing the collection of small business lending data.
Specifically, section 1071 of the Dodd-Frank Act amended ECOA to require, subject to rules
prescribed by the Bureau,that FIs compile, maintain, and submit to the Bureau certain data on
applications for creditfor women-owned, minority-owned, and small businesses.12 Congress
enacted section 1071 for the purpose offacilitating enforcement offair lending laws and
enabling communities, governmental entities, and creditors to identify business and community
development needs and opportunities for women-owned, minority-owned, and small businesses.
Under section 1071,the data that FIs are required to compile, maintain, and submit include the
type and purpose of the loan,the census tract for the applicant's principal place of business, and
the race, sex, and ethnicity ofthe principal owners of the business, along with a number of other
data points. By issuing the Outline, convening the Panel, and completing this Panel Report, the
Bureau is fulfilling its obligations under SBREFA to assess the impact of its proposals under
consideration on directly affected small entities prior to issuing an NPRM regarding section
1071.

2.3 Closely-related Federallaws and regulations

In the Outline, the Bureau identified other Federal statutes and regulations related to small
business lending that have potentially duplicative, overlapping, or conflicting requirements with
section 1071. SERB also provided suggestions of other potential closely-related Federal statutes
and regulations. Those statutes and regulations are described below.

The CRA,implemented through regulations issued by the Office ofthe Comptroller ofthe
Currency, the Board of Governors of the Federal Reserve System, and the Federal Deposit
Insurance Corporation(FDIC),requires some institutions to collect, maintain, and report certain
data about small business,farm,and consumer lending to ensure they are serving their
communities. The purpose of the CRA is to encourage institutions to helpmeet the credit needs
of the local communities in which they do business, including low- and moderate-income
neighborhoods.

 The Currency and Financial Transactions Reporting Act of 1970, as amended by the USA Patriot
 Act of 2001, and commonly referred to as the Bank Secrecy Act, authorized the Financial
 Crimes Enforcement Network(FinCEN), a bureau ofthe Department ofthe Treasury, to combat
 money laundering and promote financial security. FinCEN regulations require covered FIs to
 establish and maintain written procedures that are reasonably designed to identify and verify
 beneficial owners oflegal entity customers, which is sometimes called the customer due
 diligence(CDD)rule.11



 12 15 U.S.C. 1691 e-2.

"See 31 CFR 1020.210 for the CDD rule as applicable to FIs regulated only by a Federal functional regulator,including banks,
 savings associations, and credit union.



4       FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
        CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                 AdminRecord-001153
 Case 7:23-cv-00144                  Document 105-9                Filed on 08/01/24 in TXSD                  Page 27 of 90




 ECOA,implemented by the Bureau's Regulation B(12 CFR part 1002), prohibits creditorsfrom
 discriminating in any aspect of a credit transaction, including a business-purpose transaction, on
 the basis of race, color, religion, national origin, sex, marital status, age (if the applicant is old
 enough to enter into a contract), receipt ofincomefrom any public assistance program, or the
 exercise in good faith of a right under the Consumer CreditProtection Act.14 The Bureau has
 certain oversight, enforcement, and supervisory authority over ECOA requirements and has
 rulemaking authority under the statute.15

 Regulation B generally prohibits creditors from inquiring about an applicant's race, color,
 religion, national origin, or sex, with limited exceptions,including if it is required by law.16
 Regulation B requires creditors to request information about the race, ethnicity, sex, marital
 status, and age of applicants for certain dwelling-secured loans and to retain thatinformation for
 certain periods.17 Regulation B requires this data collection for credit primarily for the purchase
 or refinancing of a dwelling occupied or to be occupied by the applicant as a principal residence,
 where the extension ofcredit will be secured by the dwelling, and requires the data to be
 maintained by the creditor for 25 months for purposes of monitoring and enforcing compliance
 with ECOA/Regulation Band other laws." Section 1071 ofthe Dodd-Frank Act amended
 ECOA to require FIs to compile, maintain, and submit to the Bureau certain data on credit
 applications by women-owned, minority-owned, and small businesses.

 The Federal Credit Union Act,implemented by the NCUA(12 CFR part 1756), requires Federal
 credit unions to make financial reports as specified by the agency. The NCUA requires quarterly
 reports of the total number of outstanding loans, total outstanding loan balance, total number of
 loans granted or purchased year-to-date, total amount granted or purchased year-to-date for
 commercial loans to members, notincluding loans with original amounts less than $50,000. The
 NCUA also requires quarterly reports ofthe total number and total outstanding balance
(including the guaranteed portion)of loans originated under an SBA loan program.

 The Federal DepositInsurance Act,implemented by the FDIC(12 CFR part 304), requires
 insured DIs to file Call Reports in accordance with applicable instructions. These instructions
 require quarterly reports ofloans to small businesses, defined as loans for commercial and
 industrial purposes to sole proprietorships,partnerships, corporations, and other business
 enterprises and loans secured by nonfarm nonresidential properties with original amounts of$1
 million or less. In accordance with amendments by the Federal DepositInsurance Corporation
 Improvement Act of 1991,the instructions require quarterly reports ofloans to small farms,
 defined as loans to finance agricultural production, other loans to farmers, and loans secured by


 14 15 U.S.C. 1691(a)(1).
 15 See 15 U.S.C. 1691c. The Bureau's rules,including any eventual 1071 rule, generally do not apply to motor vehicle dealers, as
     defined in section 1029(f)(2)ofthe Dodd-FrankAct,that are predominantly engaged in the sale and servicing of motor
     vehicles,the leasing and servicing of motor vehicles, or both. 12 U.S.C. 5519. The authority to issue rules including rules to
     implement section 1071 for certain motor vehicle dealers rests with the Board of Governors ofthe Federal Reserve System.
     See, e.g., 12 CFR 202.17.
 16 12 CFR 1002.5(a),(b),and comment 5(a)-2.
 17 12 CFR 1002.5(a)(2), 1002.12(b)(1)(i),1002.13(a).

 is 12 CFR 1002.12(b)(1)(i),1002.13(a)(1).




 5        FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
          CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                       AdminRecord-001154
 Case 7:23-cv-00144                Document 105-9             Filed on 08/01/24 in TXSD   Page 28 of 90




farmland (including farm residential and other improvements)with original amounts of$500,000
or less.

 The Home Mortgage Disclosure Act(HMDA),implemented by the Bureau's Regulation C
(12 CFR part 1003), requires lenders who meet certain coverage tests to report detailed
information to their Federal supervisory agencies about mortgage applications and loans at the
 transaction level. This reported data is a valuable source for regulators,researchers,economists,
industry, and advocates assessing housing needs, public investment, and possible discrimination
 as well as studying and analyzing trends in the mortgage market for a variety of purposes,
 including general market and economic monitoring. There maybe some overlap between what
 is required to be reported under HMDA and what is covered by section 1071 for certain
 mortgage applications and loans for women-owned, minority-owned, and small businesses.

 The Riegle Community Development Banking and Financial Institutions Act of 1994 authorized
 the Community DevelopmentFinancial Institution Fund(CDFI Fund). The Department of the
 Treasury administers the regulations that govern the CDFIFund. A certified CDFI is a
 specialized FI that works in markets that are underserved by traditional FIs, including regulated
 institutions such as community development banks and credit unions, and non-regulated
 institutions such as loan and venture capital funds. The CDFI program includes an annual
 mandatory Certification and Data Collection Report, which may contain information similar to
 the data points discussed in sections 3.7 and 3.8 below. The CDFIFund is considering public
 comment concerning potential changesto this report.19

The Small Business Act(SB Act), administered through the SBA, defines a small business
concern as a business that is "independently owned and operated and which is not dominant in its
field of operation" and empowers the Administrator to prescribe detailed size standards by which
a business concern maybe categorized as a small business. The SBA has adopted more than one
thousand industry-specific size standards, classified by six-digit North American Industry
Classification System (NAICS)codes, to determine whether a business concern is "small." In
addition, the SB Act authorizes loans for qualified small business concernsfor purposes of plant
acquisition, construction, conversion, or expansion, including the acquisition ofland, material,
supplies, equipment, and working capital. The SBA sets the guidelines that govern the "7(a)
loan program," determining which businesses FIs may lend to through the program and the type
of loans they can provide.


3. Overview of proposals and alternatives under consideration
 This section summarizes the Bureau's proposals under consideration as set forth in the Outline.
 The Outline is attached to this Panel Report as Appendix C.




 i9
                                                                              09746
      See 85 FR 27274(May 7,2020),https://,N-N"v.cdfifinid.gov/'Documents' 20.09746-         if.




 6        FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
          CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                   AdminRecord-001155
Case 7:23-cv-00144         Document 105-9         Filed on 08/01/24 in TXSD        Page 29 of 90




3.1 Scope of the rulemaking

Section 1071(b)states that"in the case of any application to a financial institution for creditfor
[a] women-owned,minority-owned,or small business,the financial institution shall (1)inquire
whether the business is a women-owned, minority-owned or small business." Thatis, the text of
section 1071 may be read to include data collection for all small businesses as well as women-
owned and minority-owned businesses that are not small. Most existing businesses are "small
business concerns," as that term is currently defined by the SB Act and the SBA's implementing
regulations. It is therefore likely that if the eventual 1071 rule included all small businesses,the
rule would cover nearly all women-owned and minority-owned businesses. In light of this, the
Bureau is considering proposing that the data collection and reporting requirements ofits
eventual 1071 rule would apply to any application to an FIfor credit by a small business,and
that FIs would not be required to collect and report 1071 data for women- and minority-owned
businesses that are not"small."

3.2 Definition of"financial institution"(lender coverage)

The Bureau is considering proposing to adopt a general definition of"financial institution" in a
manner consistent with section 1071(h)(1), which defines the term "financial institution" as"any
partnership, company, corporation, association (incorporated or unincorporated), trust, estate,
cooperative organization,or other entity that engages in any financial activity." Under such a
definition, the rule's data collection and reporting requirements may apply to a variety of entities
that engage in small business lending, including DIs (i.e., banks, savings associations, and credit
unions), online lenders/platform lenders, CDFIs(both DIs and non-DIs),lenders involved in
equipment and vehicle financing(captive financing companies and independentfinancing
companies), commercial finance companies, governmental lending entities, and non-profit, non-
DI lenders. The Bureau is also considering proposals,in light of section 1071's statutory
purposes, to exempt FIs from any collection and reporting requirements based on either or both a
size-based and/or activity-based threshold. In the Outline, the Bureau set forth several
alternative thresholds under consideration for size-based and activity-based thresholds.

3.3 Definition of"small business" applicants

Section 1071 defines the term "small business" by reference to the SB Act's definition of"small
business concern" in 15 U.S.C. 632. That Act provides a general definition of a "small business
concern," authorizes the SBA to establish detailed size standards for use by all agencies, and
permits an agency to request SBA approval for a size standard specific to an agency's program.
The Bureau is considering adopting a simplified size standard for purposes ofits eventual 1071
rule. In the Outline, the Bureau setforth three alternatives under consideration for a simplified
size standard, which would use(1)only gross annual revenue;(2)either the number of
employees or gross annual revenue, depending on whether the business is engaged in either
manufacturing/wholesale or services; or(3)size standards across 13 industry groups that
correspond to two-digitNAICS code industry groupings. Consistent with the statutory
requirements, the Bureau will seek SBA approval for a simplified size standard if it ultimately
decides to take this approach. The Bureau understands thatimplementing this approach will
necessitate close coordination with, and approval from,the SBA.


7     FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                           AdminRecord-001156
Case 7:23-cv-00144                    Document 105-9                 Filed on 08/01/24 in TXSD                     Page 30 of 90




3.4 Definitions of"women-owned business,""minority-owned business," and
    "minority individual"

The Bureau is considering clarifying the terms"women-owned business" and "minority-owned
business" in line with the definitions ofthose terms provided in section 1071(h)(5)and(6), and
to clarify the categories of"minority individual"(used in the definition of"minority-owned
business")to mirror the aggregate categories used under the Home Mortgage Disclosure Act.

3.5 Product coverage

Section 1071 requires FIs to collect and reportinformation regarding any application for "credit"
made by women-owned, minority-owned, and small businesses. ECOA and Regulation B define
"credit" as "the right granted by a creditor to a debtor to defer payment of debt or to incur debts
and defer its payment or to purchase property or services and defer payment therefor."20
Products that meet the definition of"credit" under ECOA and are not otherwise excluded from
collection and reporting requirements will be covered products under section 1071. Specifically,
the Bureau is considering proposing that covered products under section 1071 include term
loans,lines of credit, and business credit cards. The Bureau is also considering proposing that
the eventual 1071 rule not cover the following products: consumer-designated credit, leases,
factoring, trade credit, and merchant cash advances(MCAs).

3.6 Definition ofan "application"

Section 1071(b)requires that FIs collect, maintain, and report to the Bureau certain information
regarding"any application to a financial institution for credit." For covered FIs with respect to
covered products, the definition of"application" will trigger data collection and reporting under
section 1071. The Bureau is considering defining an "application" largely consistent with the
Regulation B definition of that term i.e.,"an oral or written requestfor an extension ofcredit
that is made in accordance with procedures used by a creditor for the type ofcredit requested."21

The Bureau is considering clarifying circumstances that would not be reportable under section
1071, even if certain of these circumstances are considered an "application" under Regulation B,
including(1)inquiries/prequalifications;(2)reevaluation, extension, and renewal requests,
except requests for additional credit amounts; and(3)solicitations and firm offers of credit.

The Bureau considered possible alternative definitions of"application," including defining the
term by using Regulation B's definition of the term "completed application."22 The Bureau also
considered defining "application" as particular documents or specific data points that, if
collected, would trigger a duty to collect and report 1071 data.



20
     15 U.S.C. 1691a(d);12 CFR 1002.20).
21 12 CFR 1002.2(f).

22
     That is, as an application in which the creditor has received "all the information that the creditor regularly obtains and
    considers" in evaluating similar products. 12 CFR 1002.2(f).



g        FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
         CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                            AdminRecord-001157
 Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 31 of 90




 3.7 Mandatory data points

 Section 1071(e)(1)requires each F1 to compile and maintain a record ofcertain information
 provided by any credit applicant pursuant to a request under section 1071(b), and reportthat
 information to the Bureau. The Bureau refers to this information, along with the applicant's
 responses to the inquiries under 1071(b)(1), as"mandatory data points," which include:
(1)whether the applicant is a women-owned, minority-owned,and/or small business,
(2)application/loan number,(3)application date,(4)loan/credit type,(5)loan/credit purpose,
(6)credit amount/limit applied for,(7)credit amount/limit approved,(8)type of action taken,
(9)action taken date,(10)census tract(principal place of business),(11)gross annual revenue,
 and (12)race, sex, and ethnicity ofthe applicant's principal owners.

3.8 Discretionary data points

 Section 1071(e)(2)(H)requires FIs to collect and report"any additional data thatthe Bureau
 determines would aid in fulfilling the purposes of[section 1071]." The Bureau is considering
 requiring the reporting of the following"discretionary data points": pricing, time in business,
 NAICS code, and number ofemployees.

3.9 Timing of data collection

 Although the definition of"application" triggers a covered FI's duty to collect 1071 data, the
 statute does not provide further direction on when during the application process information
 should be collected. The Bureau is considering not specifying a particular time period during the
 application process when FIs must collect 1071 data from applicants. The Bureau also
 considered possible alternatives ofrequiring FIs to seek to collect 1071 data within or by a
 specified time period,such as simultaneous with the triggering of an "application," before
 obtaining a "completed application," or before notifying an applicant of action taken on an
 application.

3.10 Shielding data from underwriters and other persons(firewall)

 Under section 107l(d)(1), where feasible, underwriters or others at an FI or affiliate involved in
 making any determination concerning an application for credit cannot access "any information
 provided by the applicant pursuant to a request under subsection(b)." Under section 1071(d)(2),
 if an FI finds that an underwriter or others involved in making a determination regarding an
 application "should have access" to such information, the FI must provide the applicant a notice
 of"the access of the underwriter to such information,along with notice that the financial
 institution may not discriminate on the basis of such information."

 The Bureau is considering proposing that FIs mustlimit the access of a loan underwriter or other
 person to an applicant's responses to only the inquiries regarding women-owned and minority-
 owned business status under section 107l(b), as well as the race, sex, and ethnicity of principal
 owners. The Bureau is further considering proposing that an applicant's response regarding
 small business status need not be firewalled off pursuant to section 107l(d)(1).



 9    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001158
 Case 7:23-cv-00144                   Document 105-9               Filed on 08/01/24 in TXSD                  Page 32 of 90




 The Bureau is considering developing sample disclosure language that FIs could use when
 providing the notice under section 1071(d)(2),which requires FIs to notify applicants of an
 underwriter's access to women-owned and minority-owned business status and the race, sex, and
 ethnicity of principal owners. The Bureau is also considering proposing that the notice under
 section 1071(d)(2)need not include language regarding small business status.

3.11 Applicants' right to refuse to provide certain information

 The Bureau is considering proposing that the right of an applicant under section 1071(c)to
 refuse to provide certain information applies to the FI's specific inquiries regarding women-
 owned and minority-owned business status in 1071(b), as well as the race, sex, and ethnicity of
 principal owners, but not to the FI's specific inquiry regarding small business status in 1071(b).

3.12 Compiling, maintaining,and reporting 1071 data to the Bureau

 The Bureau is considering proposing that 1071 data collection be done on a calendar-year basis,
 and submitted to the Bureau by a specified time after the end of each calendar year. In
 accordance with section 1071(e)(3), the Bureau is also considering proposing a prohibition on
 including certain personally-identifiable information about any individuals associated with small
 business applicants or borrowers in the data that an FI is required to compile, maintain,and
 reportto the Bureau, other than information specifically required to be collected and reported
(such as the race, sex, and ethnicity of principal owners). Further, the Bureau is considering
 proposing that FIs retain 1071 data for at leastthree years after it is submitted to the Bureau.

3.13 Privacy considerations involving Bureau publication of1071 data

 The Bureau is examining the privacy implications ofFIs' collection, reporting, and disclosure of
 information pursuant to section 1071 and the Bureau's public release ofthe data. For purposes
 of determining whether and how the Bureau might use its discretion to modify or delete data
 prior to publication, the Bureau is considering using a "balancing test" that weighs the risks and
 benefits of public disclosure. Under this approach, data would be modified or deleted if its
 disclosure in unmodified form would pose risks to privacy interests that are notjustified by the
 benefits of public disclosure in light of the statutory purposes of section 1071. If the risks of
 disclosing unmodified data outweigh the benefits under the balancing test, the Bureau would
 determine whether modifications could bring them into balance. As an alternative to a balancing
 test, the Bureau considered an approach in which it would modify data if an identified privacy
 risk crosses some significance threshold, without weighing that risk against the benefit of
 disclosure.23

3.14 Implementation period

 Section 1071 does not specify an implementation period, though pursuant to section 1071(f)(1)
 FIs must submit 1071 data to the Bureau on an annual basis. The Bureau is considering

 23
       The Bureau noted in the Outline, however,that such an approach could be inconsistent with the express disclosure purposes of
      section 1071.



 10        FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
           CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                       AdminRecord-001159
Case 7:23-cv-00144              Document 105-9              Filed on 08/01/24 in TXSD                 Page 33 of 90




proposing that FIs have approximately two calendar years for implementation following the
Bureau's issuance ofits eventual 1071 rule.

3.15 Potential impacts on small entities

The Bureau expects that the proposals under consideration may impose one-time and ongoing
costs on small-entity providers of credit to small businesses.

One-time costs. The Bureau has preliminarily identified eight categories ofone-time costs that
make up the components necessary for an FI to develop the infrastructure to collect and report
data required by the eventual 1071 rule. Those categories are prep aration/planning; updating
computer systems;testing/validating systems; developing forms/applications; training staffand
third parties(such as dealers and brokers); developing policies/procedures; legal/compliance
review; and post-implementation review ofcompliance policies and procedures.

However, because section 1071 would resultin costs for some FIs associatedwith developing
entirely new systems and processes to implement a new data collection and reporting regime, the
Bureau does not have detailed information about potential one-time costs for small entities to
implementthe eventual 1071 rule. The Bureau recently conducted a survey regarding one-time
implementation costs for section 1071 compliance targeted atFls who extend small business
credit.24 Estimates from survey respondents of the one-time costs ofcomplying with an eventual
1071 rule are likely to form much of the basis ofthe Bureau's estimates for one-time costs in its
impact analysis for the eventual NPRM.

Ongoing costs. Adapting ongoing cost methodology from previous HMDA rulemaking efforts,
the Bureau identified 15 specific data collection and reporting activities that would impose
ongoing costs. In the Outline, the Bureau estimated that FIs with the lowest level of complexity
in compliance operations would incur around $2,500 in total annual ongoing costs, or about $34
in total cost per application processed(assuming an average of75 applications per year). For FIs
of this type,the largest drivers of the ongoing costs are activities that require employee time to
complete. Activities like transcribing data, transferring data to the data management software,
standard edits and internal checks, and training all require loan officer time.

The Bureau estimates that FIs with a middle level of complexity in compliance operations, which
is somewhat automated, would incur approximately $29,550 in additional ongoing costs per
year, or around $99 per application (assuming an average of 300 applications per year). The
largest components ofthis ongoing cost are the expenses ofthe small business application
management software and geocoding software(in the form of an annual software subscription
fee)and the external audit of the data.

Additionalpotentialimpacts ofthe eventual1071 rule. The Bureau also identified two
additional areas of potential impact of the eventual 1071 rule. First, the Bureau acknowledged
the potential for standardization or homogenization of business credit products, which could
increase compliance costs and provide an incentive for FIs to move away from products that

24
  This survey was released on July 22,2020-,the response period closed on October 16,2020. The Bureau granted the SERB an
 additional two weeks after the deadline to provide survey responses directly to the Bureau via email.




11    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                               AdminRecord-001160
Case 7:23-cv-00144         Document 105-9        Filed on 08/01/24 in TXSD         Page 34 of 90




require significant employee time to underwrite towards more standardized products that require
less time and lower labor costs. Second, depending on the extent to which the Bureau publicly
discloses the data it receives under the eventual 1071 rule, the Bureau expects that some FIs
could incur ongoing costs related to responding to reports of disparities in their small business
lending practices. Some FIs could also experience reputational risks associated with reports of
existing disparities if more fulsome analysis oftheir business practices would conclude that the
disparities do not support a finding of discrimination on a prohibited basis.

Impacts on the cost and availability ofcredit to small entities. The Bureau anticipates using the
results of its one-time cost survey to refine its estimates of the impact of compliance with an
eventual 1071 rule on the costs and availability of credit for small entities. The Bureau's one-
time cost survey includes questions about the expected impact of 1071 compliance costs on
business operations. The survey asks questions about whether lenders expect to raise interest
rates or fees, change how they underwrite loans,or change the amount or areas of small business
lending in response to the eventual 1071 rule.

Three types of costs(one-time,fixed ongoing, and variable ongoing)will determine the effect of
the eventual 1071 rule compliance on price and availability of credit to small entities. One-time
and fixed ongoing costs affect the overall profitability of the loan portfolio and will be
considered in the lender's decision to remain in the small business lending market or the market
for specific small business lending products. The Bureau hopes to learn through the one-time
cost survey the extent to which any lenders consider the potential additional one-time
compliance costs to be so high that they predict they would exit the market or reduce the number
of small business loans provided and thus reduce the availability of small business credit to small
entities.

The Bureau expects that much of the variable cost component of ongoing costs would be passed
on to small business borrowers in the form of higher interest rates or fees. Even if the variable
cost were passed on in full to small business borrowers in the form of higher interest rates or fees
associated with a loan or line of credit(or even applicants in the form of application fees), the
Bureau expects that this would comprise a small portion of the total cost ofthe average loan to
the small business borrower.


4. Applicable small entity definitions
A "small entity" may be a small business, small nonprofit organization, or small government
jurisdiction. The NAICS classifies business types and the SBA establishes size standards for a
"small business." To assess the impacts ofthe proposals under consideration, the Panel met with
small entities that may be impacted by those proposals. Any small entity that falls within the
statute's definition of"financial institution" and offers covered credit could potentially be
affected. In this instance, the Bureau soughtfeedback from banks and credit unions(including
several CDFIs), commercial finance companies, online lenders(fintechs),and non-DI CDFIs.




12    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001161
 Case 7:23-cv-00144                    Document 105-9       Filed on 08/01/24 in TXSD                           Page 35 of 90




 5. Small entities that may be subject to the proposals under
    consideration
The Panel is required to collect advice and recommendations from SERB that are likely to be
subject to the regulation that the Bureau is considering proposing. For this purpose,the RFA
defines "small entities" as small businesses, small organizations, and small governmental
jurisdictions. The term "small business" has the same meaning as "small business concern"
under section 3 of the SB Act; thus, to determine whether a business is a small entity the Bureau
considers the SBA's size standards.25 The term "small organization" is defined as any not-for-
profit enterprise which is independently owned and operated and is not dominant in its field.
The term "small governmentaljurisdiction" is defined as the governments of cities, counties,
towns,townships, villages, school districts, or special districts, with a population of less than
50,000.26

 There are two broad categories of entities that may be subject to an eventual 1071 rule: DIs and
 non-DIs. DIs are principally banks and credit unions. Types of non-DIs that maybe covered
 under the eventual 1071 rule include lenders involved in equipment and vehicle financing
(captive financing companies and independentfinancing companies), commercial finance
 companies, online lenders/platform lenders, non-DI CDFIs, governmental lending entities, and
 non-profitlenders.

 The Panel has identified 10 categories of small businesses that are likely to represent most small
 entities that may be subject to an eventual 1071 rule, together with the maximum asset size or
 average annual receipts to be considered a small business under each NAICS code.

 Table 1: Categories of small entities likely to be subject to the proposals under
 consideration, by NAICS industry



                                                                                        $600 million in assets -------
      Savings institutions                                         522120               $600 million in assets
    Credit unions                                                  522130               $600 million in assets
   .................................                                                    .......................................... .......
                                                                                        $41.5 million in average
      Sales financing                                              522220
                                                                                        annual receipts
                                                                                        $41.5 million in average
                                                                   5222
                                                                                        annual receipts
                                                                                        $41.5 million in average
      Real estate credit                                           522292
                                                                                        annual receipts


 25 U.S. Small Bus. Admin.,Table ofSmallBusiness StandardsMatched to North American Industry Classification System Codes
 (effectiveAug. 19,2019),httlls v,,«1N.sba.~ov-'sites/default'files/2019-08/SBA°.o20Table%20oP'.o20Size%20Standards
 Eff"'Li   o`0Au;'o~Uls>o2~.o~li~l~      Rc~.ptiE:
 26 See 5 U.S.C. 601(3)through (6).



 13         FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
           CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                               AdminRecord-001162
Case 7:23-cv-00144            Document 105-9           Filed on 08/01/24 in TXSD     Page 36 of 90




                                                                         Maximum size to be
     NAICS industry                                        NAICS cod
                                                                         considered 116ma "
                                                                                          I
                                                                         $8 million in avera
                                                                         annual receipts M
     Financial transactions processing, reserve, and                     $41.5 million in average
                                                           522320
     clearinghouse activities                                            annual receipts
     Commercial air, rail, and water trans                               $35.0 million in avera
     equipment rental and leasing                                        annual receipts
                                                                         $8.0 million in average
     Civic and social organizations                        813410
                                                                         annual receipts



In addition, as discussed above, a "small organization" is any not-for-profit enterprise which is
independently owned and operated and is not dominantin its field, and "small governmental
jurisdictions" are the governments of cities, counties, towns,townships, villages, school districts,
or special districts, with a population of less than fifty thousand.


6. Summary of small entity outreach
6.1 Summary ofthe Panel's outreach meetings with small entity
    representatives

The Bureau convened the Panel on October 15, 2020, and held a total offour Panel Outreach
Meetings during October 19-22,2020,conducted online via WebEx video conference.

In preparation for the Panel Outreach Meetings and to facilitate an informed and detailed
discussion of the proposals under consideration, discussion questions for the SERB were included
throughout the Bureau's Outline; these questions also appeared in a shorter Discussion Guide for
Small Entity Representatives(see Appendix E).

In advance of the Panel Outreach Meetings, the Bureau, SBA's Office of Advocacy, and OIRA
held a series of WebEx video conferences with the SERB(pre-Panel video conferences)to
describe the Small Business Review Process, obtain important background information about
each SER's current business practices, and begin discussions on selected portions of the
proposals under consideration.

Representatives from 20 small businesses were selected as SERB for this SBREFA process and
participated in the Panel Outreach Meetings. Representatives from the Bureau, SBA's Office of
Advocacy, and OIRA provided introductory remarks. The meetings were then organized around
discussions led by the Bureau's Office ofRegulations, Office of Small Business Lending
Markets, and Office of Research about each aspect ofthe proposals under consideration and the
potential impact on small businesses. The presentation slides framing this discussion are
attached at Appendix F. The Bureau also provided the SERB with an opportunity to submit
written feedbackby November 9, 2020. Fifteen ofthe 20 SERB provided written feedback,
copies of which are attached at Appendix A.


14      FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
        CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                               AdminRecord-001163
Case 7:23-cv-00144                   Document 105-9               Filed on 08/01/24 in TXSD               Page 37 of 90




6.2 Other outreach efforts,including to small entities

In addition to the SBREFA process,the Bureau has conducted extensive outreach efforts to
stakeholders, including consumer and community-based groups, industry and trade groups, and
other Federal agencies.

The Bureau held a field hearing on May 10, 201727 and published a requestfor information
regarding the small business lending market.28 Prior to that and in the years since, the Bureau
held over 100 meetings with groups of financial institutions, community advocates, researchers,
and governmental entities regardingthe 1071 rulemaking.

In November 2019,the Bureau held a symposium on section 1071 to stimulate a dialogue to
assist the Bureau in its policy development process and to receive feedback from experts,
including academic,think tank, consumer advocate,industry, and government experts in the
small business lending arena.29 On July 22,2020,the Bureau issued a survey to collect
information about potential one-time costs to FIs to prepare to collect and report data on small
business lending.10


7. List of small entity representatives
The following 20 SERB were selected to participate in the Panel's Small Business Review
process.

Table 2: List of small entity representatives

      Na e'& Title'                                 Business Name;                             Business Type
                                                                 to
      Chris-Enbom                                   AP Equipment Financing
                                                                                               Commercial Finance
      CEO                                           Bend, OR
      Joel Schiller                                 Artisans' Bank
      SVP & CRO: Compliance & CRA                   Wilmington, DE                             Bank
      Officer
      Ryan M. Warner                                Bippus State Bank
                                                                                               Bank
      Chairman & CEO                                Huntington, IN



27 See Bureau ofConsumer Fin. Prot.,Prepared Remarks ofCFPB Director Richard Cordray at the Small Business Lending
  Field Hearing(May 10,2017),hftps://Nvww.consurnerfinance.gov/about-us/newsicvom/prepared-remarks efpb-director-richard-
  cordray-small-business-lending-field-heniinu!.
28
  Bureau ofConsumer Fin. Prot.. Requestfor Information Regarding the SmallBusiness Lending Market,82 FR 22318(May 15,
 2017),http5
 information-regarding-small-business-lending;- I; l :~1
29 Bureau ofConsumer Fin. Prot.,Symposium: Section 1071 of1heDodd-FrankAct(held Nov.6,2019),
     https://wwNv.consumerfrnance.gov/about-us/events/archive-past-events cfSitsymposiuni-section-1071-dodd-frank-act/.
3
 0 The survey period closed October 16,2020. The Bureau granted the SERB an additional two weeks after the deadline to
     provide survey responses directly to the Bureau via email.




15        FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
          CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                   AdminRecord-001164
Case 7:23-cv-00144                                      Document 105-9                                                           Filed on 08/01/24 in TXSD                                                                                                    Page 38 of 90




                                                                               BUsinless Name
                                                                               City, and State
     Kurt Chilcott                                                             CDC Small Business Finance
                                                                                                                                                                                                                                         CDFI(non-DI)
     CEO & President                                                           San Diego, CA
     Cynthia Newell                                                            City First Bank
                                                                                                                                                                                                                                         Bank and CDFI
     Director, Impact& Strategy                                                Washington, D
     Landon Capdeville                                                         Flo o rplan Xpress, LLC
                                                                                                                                                                                                                                         Commercial Finance
     Vice President                                                             Moore, OK
                                                                             . Fundation
                                                                               ...........      Group-LLC--
                                                                                           o rk, NY
     Ryan Metcalf
                                                                             Funding Circle
     Head of Public Policy, Regulatory                                                                                                                                                                                                   Online Lender(Fintech)
                                                                             San Francisco, CA
     Affairs & Social Impact
     Jordan Fei                                                               Greenbox Capital
     CEO                                                                      Miami, FL
     William J. Bynum                                                         Hope Credit Union
                                                                                                                                                                                                                                         Credit Union and CDFI
     CEO                                                                      Jackson, MS
     Brooke Van Vleet                                                         InRoads Credit Union
                                                                                                                                                                                                                                         Credit Union
     President & CEO                                                         St. Helens, OR
     Kwesi Rogers                                                             Kore Capital Corporation
                                                                                                                                                                                                                                         Commercial Finance
     President & CEO                                                          Bethesda, MD
     Tawney Brunsch                                                           Lakota Funds
                                                                                                                                                                                                                                         CDFI(non-D I)
     Executive Director                                                       Kyle, SD -
     Robin Romano                                                             MariSoI Federal Credit Union
                                                                                                                                                                                                                                         Credit Union and CDFI
     CEO                                                                     Phoenix, AZ
     Luz Urrutia                                                             Opportunity Fund
                                                                                                                                                                                                                                         CDFI(non-D I)
     CEO                                                                     San Jose, CA
     J ulieann Thurlow                                                        Reading Co-Operative Bank
                                                                                                                                                                                                                                         Bank
     President
     . . . . . . . . . . . . . . . . . . . . . . . .&
                                                    . . . . . CEO
                                                              ............   ... . . . . . . . . . . . . . . . . . . . . . .MA
                                                                              Reading,                                      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ._   .................... ....... .......................
     Jeff Ivey                                                                River City Federal Credit Union
                                                                                                                                                                                                                                         Credit Union and CDFI
     President-&-CEO-                                                        San Antonio, TX --                                                                                                  -                              -
     Sarah Getzlaff                                                          Security First Bank of North Dakota
                                                                                                                                                                                                                                         Bank
     CEO                                                                      New Salem, ND
     Debbie Jones                                                             UT Federal Credit Union
                                                                                                                                                                                                                                            red it
                                                                              Knoxville, TN
     Jane Henderson                                                           Virginia Community Capital
                                                                                                                                                                                                                                         CDFI(non-DI)
     President & CEO                                                          Richmond, VA



8. Summary of feedback from small entity representatives
Through the SBREFA process, the Panel solicits feedback from small businesses early in a
rulemaking proceeding and prior to the Bureau's development of an NPRM. To obtain specific
information about the costs of complying with a potential rulemaking, the Bureau provided SERB
with a list of questions to consider about the impacts of the proposals under consideration and to
assist the Bureau in refining the proposals under consideration. These discussion questions,
which were part of the Outline(Appendix C),formed the basis ofthe Panel Outreach Meetings




16         FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
           CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                                                                                                                                                                               AdminRecord-001165
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 39 of 90




and the subsequent written feedback. These discussion questions also appear in the Discussion
Guide for Small Entity Representatives(Appendix E).

During the Panel Outreach Meetings, as well as during the pre-Panel video conferences and in
written feedback submitted by SERB following the Panel Outreach Meetings,the SERB provided
feedback on all aspects ofthe proposals under consideration. The SERB provided information to
the Panel about their business operations and how the Bureau's proposals under consideration
could impact their businesses. The Panel appreciates the meaningful feedback and data that
SERB provided and for the time they spent assisting the Panel. This section summarizes SER
feedback on the various parts ofthe Outline. Written feedback provided by SERB is included in
Appendix A.

8.1 General feedback from SERs

SERB were generally supportive ofthe Bureau's statutory mission to promulgate a section 1071
rule, and many expressly supported broad coverage of both financial institutions and products in
the 1071 rulemaking. A number of SERB expressed the view that data transparency in the small
business lending marketis critical to advance the goals of fair lending enforcement and access to
creditfor small businesses,especially those that are minority-owned and women-owned. One
SER stated that the limited data currently available shows that the lending practices of many FIs
exclude women-owned and minority-owned businesses, exacerbating a racial wealth gap, and
that section 1071 has the opportunity to address such lending disparities, which are costly to
businesses, lenders, and the economy as a whole. The SER also said that data transparency and
fairness should be an advantage to smaller,local FIs, allowing them to better distinguish their
value proposition compared to larger FIs or predatory lenders.

Several SERB stated that the completion of a 1071 rulemaking was both welcome, given the
many years stakeholders have been waiting for this data,and necessary to better understand the
small business lending market, as the COVID-19 pandemic highlighted how the most vulnerable
small businesses can be disproportionately impacted by economic shocks.

SERs nearly uniformly suggested that the Bureau aim to draft simple regulations, and choose
simpler options if possible, noting that more complex rules tend to make compliance more
difficult and drive up compliance costs, which could potentially increase prices or reduce small
businesses' access to credit. Many SERB also requested clear written guidance and
implementation support materials from the Bureau,such as small entity compliance guides, a
"help desk"for questions, and sample disclosure language (translated into languages other than
English for individuals with Limited English Proficiency). Several SERB also discussed the need
for applicant-facing materials explaining whatthe section 1071 regulation is and why the FI must
collect data. Relatedly, one SER requested that the Bureau educate and train currently
unregulated FIs to help them implementthe rule.

A number of SERB(representing FIs that operate primarily online as well as FIs thatinteract with
small business applicants in-person)indicated their beliefthat FIs with extensive online lending
operations would be able to comply with an eventual 1071 rule more easily, quickly, and at less
cost due to their greater degree of automation than FIs with primarily in-person and/or paper-
based operations. SERB urged the Bureau to align with other Federal data reporting regimes-


17    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                        AdminRecord-001166
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 40 of 90




such as HMDA,CRA,CDFI Fund, or SBA—if possible, and thought thatFIs with experience
complying with these other Federal data reporting regimes would have an easier time complying
with an eventual 1071 rule than would FIs, including some SERB, with no such experience.

Many SERB expressed the concern that a 1071 rule, while required by statute, would cause
smaller FIs to incur disproportionate compliance costs compared to larger FIs, and may either
push FIs to reduce the availability of creditfor certain small businesses or cause FIs to pass on
the added costs and increase the cost ofcreditfor small businesses. Several SERB also cautioned
that new regulations may have unintended consequences. A few SERB disagreed, asserting that
it would not be overly or materially costly for any FI to comply with an eventual 1071 rule.
Several SERB also stated that the statutory purposes of section 1071 were important enough that
the likely costs of complying with the future rule were worth incurring. One SER suggested
limiting use of 1071 data by regulators to conducting fair lending audits, and not subjecting FIs
to technical audit and compliance requirements.

Several SERB stated that a 1071 rule should take into account the different types ofFIs operating
in the small business lending market. One SER suggested that the Bureau had notfocused
enough attention on the impact of a 1071 rule on non-DIlenders, which they said play a vital
role in providing essential credit to small businesses in the United States, many of which are
women-owned and minority-owned. Another SER asserted that the data collected from credit
unions, which are bound by their charters(pursuant to Federal and State laws and regulations)to
serve a specific field of membership, would likely be incomparable with data from other FIs that
are permitted serve any kind of customer.

8.2 SER feedback related to the scope of the rulemaking

As noted above, many SERB supported broad coverage ofboth financial institutions and
products, as reflected in section 1071(b)'s language covering"any application to a financial
institution for creditfor [a] women-owned,minority-owned,or small business." A number of
SERB expressed a belief that coveringjust small business applications(however that is
eventually defined by the Bureau)would supply adequate or nearly complete lending data for
purposes of section 1071. However, other SERB stated that the Bureau's regulation should
collect data regarding applications for creditfor non-small minority-owned and women-owned
businesses as well. One SER relayed first-hand observations in their community that larger
minority-owned and women-owned businesses were excluded from full access to credit, and
expressed an interest in the Bureau capturing and reporting thatinformation. Another SER
observed that smaller FIs, or those that generally focus on small business lending, mightfind that
collecting and reporting data for all business loan applications might be a simpler approach than
undertaking a process of determining which applications might be within the scope ofthe
eventual 1071 rule.

8.3 SER feedback related to the definition of"financialinstitution"(lender
    coverage)

SERB generally did not express concern regarding the general definition of a "financial
institution" under consideration, although one SER expressed concern at the broad reach of what



18   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                        AdminRecord-001167
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD        Page 41 of 90




might be considered a financial activity. There was a diversity of perspectives with respect to
the Bureau's approaches under consideration regarding potential exemptions. While some SERB
stressed the need for expansive lender coverage to fulfill section 1071's purposes, others
suggested that such purposes could be fulfilled by the Bureau collecting and reporting data from
only the largestlenders. SERB also offered varying opinions regarding the exemption metrics
and thresholds under consideration, with some SERB favoring activity-based exemptions and
others preferring an asset-based approach.

Some SERB advocated for an activity-based exemption. Several ofthese SERB preferred an
annual 25-loan threshold (with at least one expressing support specifically for the "option 1"
exemption threshold as described in the Outline, which was for annual originations of at least25
small business loans or $2.5 million). One SER preferred the Bureau's "option 2" exemption
threshold for annual originations of50 small business loans or $5 million, while another
preferred the Bureau's"option 3" exemption threshold for annual originations of atleast 100
small business loans or $10 million. Another SER recommended setting a threshold of more
than 100 small business applications for two consecutive years. These SERB emphasized a
general need for thorough data reporting from a wide variety oflenders, and cautioned thatin
many smaller and rural markets,larger exemptions might resultin little or no data collection
given that many lenders in those markets were themselves small DIs and/or do not make many
small business loans annually.

In contrast, a few SERB advocated that the Bureau should consider initially exempting lenders
other than "large" FIs(which, one suggested, might be defined for DIs as those having more than
$1 billion in assets). These SERs stated that this approach would capture the vast majority of
small business loans while avoiding imposing undue regulatory burden on smaller lenders, who
might be less capable of absorbing such costs. They suggested that the Bureau might later
consider whether to expand section 1071 data collection and reporting requirements to smaller
FIs after first analyzing the available data. Several SERs cautioned that some FIs, particularly
small non-DI lenders, might cease lending to small businesses if the eventual 1071 rule's one-
time costs are too high.

One SER stated that a $200 million asset-based exemption would be helpful to small DIlenders,
and others suggested that a threshold of$600 million was appropriate. Another SER countered,
however,that they were unaware of data that might support an asset-based exemption larger than
$100 million. Some SERs expressly opposed an asset-based exemption; one SER cautioned that
an exemption based solely on asset size would be inadvisable,because many lenders do not hold
their loans on their balance sheet. Another SER stated that adopting an asset-based exemption
would risk excluding the collection of nearly all small business lending data in certain regions.
At least one SER supported a combined size-based and activity-based exemption. Some SERs
also suggested other possible bases for setting exemption thresholds. For example, several SERs
suggested that the Bureau focus on the number ofsmall business loans that would be covered or
excluded, rather than the number offinancial institutions,insetting an exemption threshold. One
SER suggested setting a threshold based on loan portfolio size rather than annual originations.
Another SER suggested that the Bureau consider exempting certain FIs using a location test
similar or identical to whatis used for H1VIDA, which does not apply to institutions that do not
have a home or branch office in a Metropolitan Statistical Area.



19   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                        AdminRecord-001168
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD        Page 42 of 90




SERB uniformly supported clear, predictable collection and reporting exemption thresholds. One
SER questioned how long a grace period an FI that exceeded an activity-based threshold would
be afforded before collection and reporting requirements would commence. Another SER
expressed concern regarding the potential burden for smaller lenders to keep track ofexemption
levels that might be subject to revision. A SER recounted that their institution incurred
compliance burden when preparing to reportHMDA data, but that the Bureau later adopted
exemptions that excluded the institution from reporting requirements only after the institution
had already spent the resources to prepare for compliance.

Several SERB voiced supportfor aligning reporting requirements for FIs that are notthe lender of
record with the approach taken for HMDA reporting in the Bureau's Regulation C. One SER
stressed thatimposing section 1071 requirements for loan buyers, who play an important role in
assisting CDFIs but do not make credit decisions, might risk their continued participation.
Another CDFI SER explained that the institution occasionally participates in pooled loan
purchases and recommended that the Bureau ensure thatreporting obligations for such pooled
loans are clear. Other SERB expressed concern in adopting the Bureau's approach in Regulation
C, noting the differences between small business and residential loan products, and advocated for
simpler approaches.

One credit union SER requested that the Bureau exempt all credit unions from section 1071 data
collection and reporting requirements, asserting that credit unions had not displayed what they
characterized as a "pattern ofunfair lending." In contrast, another SER cautioned against
providing exemptions for particular types ofFIs, noting the risk of missing importantlending
data. A few SERB, particularly CDFIs, strongly preferred that all lenders,including non-profit
and governmentlenders, should be subject to section 1071 data collection and reporting
requirements. One SER asserted that disparities exist in many forms ofsmall business lending,
including the SBA's 7(a)Loan Program, state lending programs, and funds distributed through
the recent CARES Act. Another SER stated thatin certain parts of the country,such as the
Midwest,Farm Credit System (FCS)loans are available to small businesses, and thus Farm
Credit institutions are in competition with other lenders and should be covered entities. One
SER stated that the Bureau should consider exempting non-depository, nonprofit Native CDFIs
because section 1071 data collection and reporting requirements mightimpose significant
compliance costs and privacy concerns.

8.4 SER feedback related to the definition of"small business" applicants

SERB generally preferred a simple small business definition and expressed concern that the
SBA's approach to defining a small business—which bases classification on an applicant's 6-
digit NAICS code—is relatively complex. Nearly all SERB expressed some familiarity with the
SBA's small business definition. More than halfthe SERB currently gather an applicant's
NAICS code as a routine part of the application process, because NAICS codes are used for SBA
loans and for CDFI Fund reporting. One SER also uses this information for tracking the
concentration oftheir loans across certain industries. Some SERB gather NAICS code from an
applicant's tax documents or a business credit report and others rely on information provided
directly by the applicant; these SERs emphasized the importance of permitting reliance on
applicant self-reported data.



20   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                       AdminRecord-001169
 Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 43 of 90




 One SER remarked that it would be critical for the purposes of section 1071 to have industry
 information about applicants in some form, such as NAICS codes, in order to ensure meaningful
 data. Another SER expressly opposed using the NAICS code to determine whether an applicant
 is a small business for purposes of section 1071. A few SERB stated that they did not think it
 would be particularly costly to collect NAICS codes for all of their small business loans, and one
 SER described the SBA's classification approach as precise and not very burdensome. On the
 other hand, several SERB stated that correctly classifying an applicant's NAICS code can be
 difficult, as the business may change over time, codes may have overlapping definitions, small
 businesses often do not know their NAICS code,and classifications may be prone to human
 error. Another SER noted that NAICS codes classifications could be subject to change based on
 SBA rulemaking, and thus FIs would need to track such developments.

 Some SERB supported the Bureau's first alternative approach for defining a small business,
 which would use an applicant's gross annual revenue with a potential "small" threshold of$1
 million or $5 million. Several SERB were supportive of this simple approach, butthought the
 potential threshold should be higher. For most SERB, nearly all their small business customers
 had less than $5 million in gross annual revenue; most are under $1 million. Several SERB
 remarked that a $1 million gross annual revenue threshold would be too low, noting that it would
 exclude many businesses defined by SBA regulations as "small"; some ofthese SERB said that a
 $5 million gross annual revenue threshold would be acceptable. Some SERB advocated for
 higher revenue thresholds, such as $8 million or $10 million. One SER cautioned that a small
 business definition based only on gross annual revenue would not account for regional variations
 in business size. One SER specifically suggested that the Bureau align its small business
 definition with the $1 million standard used by certain supervisory agencies for CRA reporting.
 However,this SER also supported other versions ofthe Bureau's first and second alternatives if
 the Bureau did not adopt the CRA approach. Relatedly, there were some concerns about
 capturing revenue information from small businesses. Some SERB do not collect this data now,
 or do not do so across all lending products. SERB also expressed a concern that some applicants
 likely would not know their gross annual revenue as a precise dollar amount.

 Some SERB supported the Bureau's second alternative, which would distinguish between
 applicants in manufacturing and wholesale industries(500 employees)and all other industries
($8 million in gross annual revenue). These SERB stated that while this approach was still
 relatively simple, it would nonetheless capture most relevant data. One SER noted a discrepancy
 between the thresholds, stating that a manufacturer with 500 employees would be much larger
 than a business with $8 million in gross annual revenue. Some SERB expressed concerns about
 how to collect data on the number ofemployees, particularly regarding how part-time and
 seasonal employees,and contractors, would be counted. One SER suggested that a small
 business be defined as having less than $10 million in annual revenue and 50 or fewer
 employees. Another SER emphasized the importance ofincluding collection and reporting
 requirements for applicants with very few or no employees on payroll, stating that most
 minority-owned and woman-owned small businesses have no employees. One SER opposed the
 second alternative, stating that it would be too complex and potentially confusing.

 One SER also supported the third alternative as closest to the SBA approach, stating that it
 reflects the SBA's substantially different definitions of a small business across different
 industries. This SER stated that the Bureau's first and second alternatives would exclude many


 21   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001170
Case 7:23-cv-00144         Document 105-9        Filed on 08/01/24 in TXSD         Page 44 of 90




SBA-qualified small businesses. Other SERB also stated that this two-digitNAICS code
alternative was significantly less complex and prone to less human error than the SBA definition
using 6-digit NAICS codes. On the other hand, one SER stated that the third alternative would
be the most costly and difficult to implement compared to the other two alternatives under
consideration.

8.5 SER feedback related to the definitions of"women-owned business,"
    "minority-owned business," and "minority individual"

SERB expressed concerns with certain aspects of the statutory definitions of"women-owned
business" and "minority-owned business," asserting that the definitions could cause confusion or
pose particular complexities. A number of SERB recommended that the Bureau simplify these
definitions in the eventual 1071 rule to ensure the definitions are understandable to small
business applicants and thereby facilitate consistent data collection across FIs. SERB'
suggestions included eliminating the portion ofthe definitions that refers to accrual of net profit
and loss, eliminating the portion of the definitions that refer to control and thus focusing only on
ownership, and providing simplified and standardized definitions. Several SERB supported using
the concepts of ownership and control in FinCEN's CDD rule when defining women-owned
business and minority-owned business; one SER said that doing so would be logical and
efficient, while another said it would create regulatory consistency and ease compliance burden.
One SER said that most credit unions are familiar with the CDD rule.

Several SERB asked that the definitions of"women-owned business" and "minority-owned
business" be revised to align with the definitions used by other agencies, such as the SBA and
the CDFI Fund. Several SERB expressed concern that a business that is owned equally by a
woman and a man (such as often occurs with heterosexual married couples who own a business
together)would not be a"woman-owned business" under the definition of women-owned
business that the Bureau is considering(because the woman would not own "more than 50
percent" of the business). These SERB recommended that the Bureau instead use "50 percent or
more" of ownership or control as the standard instead. Two SERB supported using"more than
50 percent" of ownership for the definition.

Several SERB supported aligning the definition of"minority individual" with the aggregate
categories for race and ethnicity in HMDA,stating that the Bureau should clarify that a
"minority individual" is a natural person who is Black or African American,Asian, American
Indian or Alaska Native, Native Hawaiian or Other Pacific Islander, and/or Hispanic or Latino.
However, one SER suggested using the disaggregate categories in HMDA,instead of the
aggregate categories.

8.6 SER feedback related to product coverage

Covered products. Approximately halfthe SERB urged the Bureau to pursue expansive product
coverage in order to adequately capture small businesses' experiences with obtaining financing,
especially for women-owned and minority-owned small businesses. Several additional SERB
specifically expressed support for the Bureau's proposal under consideration to include term
loans,lines of credit, and business credit cards as covered products under section 1071.



22    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001171
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD        Page 45 of 90




Two SERB asked the Bureau to clarify whether agricultural loans would be covered under section
1071, noting that they are distinct and separate from business loans and that there would be
additional costs to gather data for farm-related credit. One SER also explained that in rural
areas,FCS loans secured by residential real estate are used to support small businesses, as well
as for agricultural purposes. Another SER asked whether sufficient data on these loans could be
collected through FCS and the Farm Service Agency.

One SER asked that the Bureau clarify whether loans covering 1-to-4 family properties used for
investment purposes are business loans under section 1071, and several SERB recommended that
the Bureau cover real estate investmentloans(for both non-owner occupied residential property
and commercial property)under section 1071. Several other SERB soughtto distinguish certain
types of real estate loans; one SER remarked,for example, that owning a single non-owner
occupied residential property as an investment may be more of a "hobby" but owning multiple
properties could be considered a business.

Products not covered. As noted above,a number of SERB urged the Bureau to pursue expansive
product coverage in an eventual 1071 rule. Many SERB advocated for including MCAs within
the scope of the eventual 1071 rule; some SERB also advocated for including factoring, and in
some cases leases as well. A few SERB asserted that these products are all very common forms
of financing used by small businesses, especially women-owned and minority-owned small
businesses, and that, without the inclusion of such products,the Bureau would not capture the
full landscape of small business financing. One SER specifically stated that excluding these
products could,in particular,leave minority-owned businesses vulnerable to exploitation.
Relatedly, SERs urged inclusion of MCAs due to their widespread use by small businesses in the
same way as loans and because they said that MCAs are marketed as loans and use underwriting
practices that factor in merchants' credit ratings and bank balances,instead oftheir receivables.
One SER stated that smaller start-up small businesses rely on MCAs,and thus excluding them
provides an incomplete picture of the creditlandscape. Another SER expressed concern about
practices used by MCA providers(which the SER characterized as"predatory")and about how
excluding MCAs could further enable such practices. A few SERs asserted that the complexity
associated with MCAs and other products was not a good reason to exclude them from coverage
under the eventual 1071 rule. Several SERs also noted that both New York and California have
passed laws covering MCAs,as well as factoring, in their commercial financing disclosures
laws; California's law also covers leasing.

In addition, several SERs expressed concern that the exclusion under consideration for certain
products would disproportionately burden traditional lenders with reporting requirements, while
another SER argued the need for a level playing field and recommended that all products be
covered under section 1071. On the other hand, one SER argued thatfactoring is not"credit"
under the plain language of section 1071 and ECOA,that it would thus be improper to include
this product, and that its inclusion would corrupt the data set. Another SER said thatfactoring
and asset-backed financing should be treated the same way that is, either both should be
covered, or both should be excluded.

Regarding consumer credit used for business purposes, several SERs asserted that consumer
credit is often an important source of financing for small businesses (particularly for women-
owned and minority-owned small businesses, and sole proprietorships), and ideally should be


23   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                        AdminRecord-001172
Case 7:23-cv-00144         Document 105-9        Filed on 08/01/24 in TXSD         Page 46 of 90




included within the scope ofthe eventual 1071 rule. One SER stated that consumer credit used
for business purposes should be included in an eventual 1071 rule if trends show increasing
usage. However,these SERB acknowledged the potential complexity and burden oftrying to
identify the intended use of consumer-designated credit, for example, whether a consumer's
home equity line of credit will be used for a business purpose.

Several SERB expressly supported excluding consumer-designated credit. One SER asserted that
including consumer credit would not supportthe purposes of section 1071. Another SER stated
that including consumer-designated credit used for business purposes would double their cost of
complying with an eventual 1071 rule. Another SER asked the Bureau to adopt a clear definition
of consumer-designated credit, noting that the Call Reportfor credit unions treats all loans under
$50,000 as consumer credit. This SER advocated for a consistent reporting exemption for credit
union business loans under $50,000. Two SERB countered that business loans under $50,000
should be reported by credit unions under an eventual 1071 rule, and one SER stated that if they
are excluded from reporting, then the exclusion should apply to all FIs. Relatedly, one SER
remarked that smaller loans are often made to women-owned and minority-owned businesses
and in rural areas.

8.7 SER feedback related to the definition of an "application"

SERB discussed their varied methods of defining what constitutes an "application" within their
institutions. Many SERB define an application as the point when there is enough information to
make a credit decision. Several SERB define an application as meeting the requirements ofa
checklist, stating that obtaining all the information and satisfying due diligence can take a long
time. Other SERB define an application as the submission of specific data or documents,or
obtaining sufficientinformation about the borrowerto pull a credit report. One SER explained
that their in-person application process is iterative, not readily definable, and unique for each
applicant. The SER also explained that a single underwriting process could be used at their FI
for multiple loans requested throughoutthe year.

Several SERB supported using the Regulation B definition of"application." One ofthese SERs
emphasized the importance ofcapturing data that may indicate potential discouragement of
minority-owned businesses,including discouragement that could occur in advance of an
application being submitted for underwriting. Another SER stated that the Regulation B
definition would be helpful for training purposes, rather than creating a wholly new definition for
purposes ofimplementing section 1071. Many SERs urged the Bureau to define in an eventual
1071 rule an application as a completed application,that is, at the point when there is sufficient
information to render a credit decision. One SER opposed using the definition of"completed
application," explaining that it would be too restrictive and less aligned with the purposes of
section 1071. Another SER opposed use of the Regulation B definition of application,
explaining thatin a "relationship lending" model, each small business application is unique.

SERs expressed varying views on whether withdrawn and incomplete applications should be
captured. Some SERs feltincomplete applications should be captured in the 1071 data as a
potential indicator of discouragement. One SER stated that small and unsophisticated businesses
are more likely to leave an application incomplete. Another SER recommended not capturing
incomplete applications, asserting that such data would not be informative or useful. Another


24    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001173
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 47 of 90




SER expressed concern about whether incomplete or withdrawn applications would include
sufficient data for 1071 reporting.

Several SERB urged the Bureau not to require reporting on prequalifications or inquiries. These
SERB explained that they encounter a high number ofinquiries from rate shoppers asking about
qualification requirements and potential rates, many of which are abandoned or otherwise do not
progress to a completed application. Several SERB urged the Bureau to exclude line increases as
a distinct type of application, explaining that FIs may not require a new application for such
requests and that underwriting a line increase request is substantively distinctfrom underwriting
a requestfor new credit because a line increase extensively relies on past performance data and
prior relationships. Due to these differences, one SER suggested that including line increases
may skew 1071 data, causing misinterpretations. Several SERB supported the Bureau's proposal
under consideration to exclude renewals unless additional credit is requested; one SER also
supported excluding solicitations.

Two SERB discussed the issue of multiple extensions of credit resulting from a single
application. One ofthese SERB explained that such multiple extensions of credit are assigned
separate application/loan numbers at their FI. The other SER suggested that reporting in this
situation will be complex, and that combining the separate loans that could resultinto a single
reporting line would be extremely difficult.

8.8 SER feedback related to mandatory data points

SERB provided feedback on nearly all aspects ofthe data points under consideration, including
certain feedback applicable to all data points. Regarding data points generally, most SERB
requested that the Bureau make the collection and reporting of data points as simple as possible.
Two SERB stated that collecting and reporting the mandatory data points would not pose any
issues because they collect them now. A number of SERB urged the Bureau to require collection
and reporting of a number of data points based only on information as provided by the applicant.
One SER stated that the Bureau should be aware that, as with H1VIDA reporting, the cost of
collecting and reporting the data points will include expensive data quality scrubs in order to
avoid negative examination findings. Another SER stated that it will be challenging to
standardize the data so reporting can be automated,and that this will likely require significant
training and a tremendous amount of human intervention.

Furthermore, some SERB expressed concern about asking applicants to provide certain
information (in particular the race, sex and ethnicity of principal owners), as they believed that
applicants would feel uncomfortable providing, or even being asked about,thatinformation, and
that if applicants are denied credit they mightfeel it was because ofthe demographic information
they provided. Other SERB that currently collect this information(for example, because they are
CDFIs or SBA lenders)indicated that they generally do not have difficulty collecting
demographic information from borrowers.

Several SERB suggested that the Bureau develop a system to assist in the collection of
demographic information, and possibly other applicant-provided 1071 data, that would avoid the
need for FIs to request and store sensitive information about applicants. One SER suggested that
this system could also permit applicants to input their addresses for geocoding.


25   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001174
Case 7:23-cv-00144         Document 105-9         Filed on 08/01/24 in TXSD         Page 48 of 90




SERB' feedback on each ofthe mandatory data points is addressed in turn below.

Whether the applicant is a women-owned business, a minority-owned business, and/or a small
business. Some SERB currently obtain information regarding whether small business applicants
are women-owned and/or minority-owned,such as for SBA loan programs and pursuant to their
obligations with the CDFI Fund, but many SERB do not. Several SERs discussed potential
difficulties that they foresaw related to collecting and reporting women-owned business status
and minority-owned business status. For example, several SERs expressed concerns that small
business applicants mightfeel uncomfortable providing, or even being asked about, women-
owned or minority-owned business status, and that discomfort could pushthem to alternative
financing mechanisms,such as consumer purpose credit cards. Conversely, a few other SERs
remarked that they did not have particular difficulty collecting minority-owned and women-
owned status regarding their small business applicants.

Several SERs urged the Bureau to require collection and reporting of women-owned and
minority-owned business status based only on the information the applicant provides. SERs also
expressed concerns about the difficulties and costs that maybe associated with collecting
women-owned and minority-owned business status on some basis other than applicant self-
reporting. Concerns raised by SERs regarding the collection of minority-owned business and
women-owned business status overlapped with concerns expressed regarding the definitions of
"women-owned business" and "minority-owned business"(see section 8.5 above). For example,
although many SERs indicated that they review some ownership information about applicants in
order to obtain guarantees or for other reasons, most of those SERs said that they do not review
the accrual of net profits and loss and some said that they do not review information related to
who controls an applicant. One SER said that determining ownership is relatively
straightforward, but the issue of control can be subjective. One SER said that it would notbe
able to determine who controlled an applicant and that an applicant would need to self-report that
information. Another SER noted that some small business applicants do not have simple
ownership structures. A different SER stated that some FIs do not meetin person with all of the
owners of small business applicants.

One SER asked thatFIs not be required to collect women-owned and minority-owned business
status for subsequent applications within a year(assuming there were no changes in the
applicant's ownership structure). Another SER requested that reporting be based on dataFIs
already report, such as to the CDFIFund. Some SERs requested that the Bureau develop a
uniform collection form to assist FIs with the collection of reporting of minority-owned business
status, women-owned business status, and the race, sex, and ethnicity of principal owners.

SERs did not provide feedback specifically on the reporting of small business status. Feedback
provided by SERs regarding how small business status would be determined is addressed
elsewhere in this report(see section 8.4 above regarding the definition of"small business"
applicants, later in this section 8.8 regarding the gross annual revenue data point, and in section
8.9 below regarding discretionary data points for number of employees and NAICS code).

Application/loan number. SERs reported varied practices with respect to assigning application
and loan numbers. Some SERs stated they do not assign application numbers; some ofthose
SERs indicated, however,that they do assign loan numbers at or before origination. Two SERs


26    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                           AdminRecord-001175
 Case 7:23-cv-00144         Document 105-9        Filed on 08/01/24 in TXSD         Page 49 of 90




 reported tracking applications and loans using an identification number assigned to the customer.
 One SER expressed concern about reporting actual loan numbers to the Bureau due to potential
 identity theft, and requested that the Bureau permitFIs to generate a new application/loan
 number specifically for 1071 reporting purposes. One SER stated that if an applicant requests
 more than one type of credit product, a separate application/loan number is assigned to each
 product request, while other SERB indicated they use a single application number even if
 multiple products are requested.

 Application date. Most SERs stated that application date would not be difficult to report, though
 some suggested different triggers for the reporting of application date. This feedback overlapped
 somewhat with feedback on the definition of an "application"(see section 8.7 above). Several
 SERs suggested the date an application is completed and submitted for underwriting review
 should be the triggering date. Several other SERs expressed supportfor reporting the date based
 on when a credit memorandum is generated. One SER suggested that each Fl be permitted to
 develop its own process for reporting application date, so long as itis done consistently. Another
 SER expressed concern with reporting application date as a general matter, explaining that a date
 is not currently recorded in their system as a matter of practice. Instead of application date, that
 SER suggested that FIs reportthe date the creditor makes a decision on the loan. Several SERs
 were strongly in favor of the Bureau providing a grace period of several days on either side of
 the date reported to reduce compliance burden.

Loan/credit type. A number of SERs requested certain products be added to the "producttype"
list; this feedback generally aligned with feedback regarding product coverage(see section 8.6
above). Two SERs suggested that line increases should be excluded(see section 8.7 above
regarding the definition of an "application"). Some SERs requested that the Bureau permit
multiple types of guarantees to be selected for a single application,and one SER suggested that
FHA guarantees be added to the guarantee list. One SER explained that government guarantees
and personal guarantees are different—the government guarantee being a credit enhancement
and a personal guarantee being a form of collateral.

Loan/creditpurpose. Some SERs stated that they collectinformation on loan purpose,although
 the information they collect may be differentfrom the loan purpose information the Bureau is
 considering requiring. One SER did, however, suggest that the Bureau's purposes list was
 similar to their list. Some SERs made suggestions of additional loan/creditpurposes to add to
 the list, including for inventory loans, agricultural loans,and contractfinancing. One SER
 requested that the Bureau clarify whether this data point is intended to capture the purpose of the
 loan or the type of collateral. Another SER recommended combining the categories of motor
 vehicle finance and equipmentfinance,explaining that certain financing can span both categories
(such as for a truck and a trailer as a combined purchase). One ofthe SERs expressed concern
 about possible confusion regarding credit with multiple purposes,and another SER suggested
 that the Bureau provide clear instructions on this data point. Another SER suggested that the
 Bureau explain how aline of credit should be reported if there can be multiple lines for different
 purposes all within the same account.

 Credit amount/limit appliedfor and credit amount/limit approved. One SER articulated the
 importance of capturing data on both the amount applied for and the amount approved, stating
 that both data points were necessary to identify practices, such as discouragement,in the lending


 27   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                           AdminRecord-001176
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 50 of 90




process. Another SER explained that the amount applied for could change during the iterative
application process, particularly with a business that may not have had a banking relationship
before, but that the amount generally stayed consistent through underwriting. Other SERB
asserted that differences between the amounts requested and approved were frequent, for a
variety of reasons. One SER stated that they notify applicants of a preliminary offered amount,
which often changes after documentation and underwriting. One example offered was that
disparities between the amount applicants applied for and the amount the lenders approved may
be attributable to collateral being assessed at a different value than the amount the applicants
initially requested. Some SERB also remarked that differences in these amounts were often
attributable to FIs acting as counselors or advisors to small businesses,including start-ups, and
going back and forth until arriving at an amountthat is appropriate given the customer's needs.

One SER(who supported reporting the amountinitially applied for and the amount approved)
strongly opposed reporting counteroffers, stating that negotiation is quite prevalentin small
business lending. Another SER suggested that the Bureau use ranges for reporting the amount
applied for, rather than specific numbers, and that the Bureau allow an FI to report"Not
Applicable" if an applicant does not specify an amount requested. A SER also suggested there
could be other potential complexities in capturing data on credit amount/limitthe applicant
applied for and credit amount/limit the lender approved, such as simultaneous or grouped
financings involving multiple products, different sub-limits for each product or loan,and a
general credit limit for an entire facility. SERB asked that these data points be captured in a
manner that took these complexities into account.

Type ofaction taken and action taken date. Most SERB were supportive ofthe action taken
categories under consideration. Several SERB stated that the categories align with information
they currently collect. One SER explained that a single application could pass through all of
these stages and expressed concern thatidentifying the right category to reportmay be subjective
and questioned by examiners or auditors after the fact. Another SER asked for additional clarity
on the difference between denied applications and incomplete applications. This SER also
suggested adding a category for lenders to indicate if an applicant is rate shopping.

Several SERB discussed the frequency of counteroffers in small business lending and the
potential utility of capturing counteroffers in 1071 data. One SER expressed concern with
reporting each adjustmentin the application process because,they said, not all counteroffers are
memorialized in writing.

When asked whether they would prefer reporting denial reasons to help explain the decision on
an application, some SERs expressed concern about reporting denial reasons, asserting that
requiring lenders to report reasons for denial could add more burden than benefit, may not be
useful given the number of possible reasons for a denial, might not shed light on the actual
reasons for a denial, may be difficult to standardize for uniform reporting, would require
additional processes to ensure accurate reporting, and may present heightened privacy concerns.
One SER expressed a preference to report denial reasons.

On the action taken date, one SER supported the Bureau's proposal under consideration that the
Bureau provide a grace period of several days before and after the action taken date. Another




28   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001177
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 51 of 90




SER recommended that the date assigned be to the best ofthe FI's knowledge orb elief given the
uncertainty in assigning a particular date.

Census tract(principalplace ofbusiness). SERB explained that they generally capture the main
office address ofsmall business applicants, which for sole proprietors is frequently a home
address; the address where the loan proceeds will be used is typically captured for commercial
real estate transactions. Some ofthe SERB stated that they do not know the proceeds address,
and one suggested that for simplicity the Bureau should use the business address only.

A number of SERB have experience geocoding addresses to obtain census tract information—
such as for CDFI Fund reporting, voluntary CRA reporting, or for reporting mortgage loans
under HMDAthough some do not. Some SERB suggested that a requirement to report a
geocoded census tract for FIs that do not do so now, would impose costs on the FI and possibly
the borrower. One SER stated thatfew non-DIs collector are even familiar with census tract
data. One SER recommended following the format used for CRA reporting of census tract
information, rather than the slightly differentformat used under HMDA. Another SER
suggested that the Bureau provide simple instructions for reporting census tract and employ less
burdensome geocoding requirements than existfor HMDA. Several SERB explained that they
use a free service available through the FFIEC to convert addresses they receive from applicants
to census tract data. A few SERB suggested that the Bureau should provide or support a Federal
government-sponsored system for the secure batch processing of address data to convert to
census tractinformation that could be used to satisfy geocoding requirements across multiple
reporting regimes including 1071.

Gross annual revenue. Many SERB indicated that they collect gross annual revenue
information, although they differed in how much they seek to verify this data. Several SERB
requested clarification regarding how gross annual revenue would be reported for startups and
other young businesses. A few SERB stated that they do not capture gross annual revenue at all
or collect it only in limited circumstances. One of these SERB stated that collecting gross annual
revenue would be challenging; others suggested they could likely estimate gross annual revenue
based on information they do collect.

Several SERB explained that they collect gross annual revenue using different methods and forms
of verification for different types of credit. SERB advocated for allowing gross annual revenue to
be reported as provided by the applicant, without an obligation for the FI to verify that
information. A few SERB suggested that applicants often cannot provide accurate gross annual
revenue information, although one SER suggested that in their experience applicants are
generally able to provide reasonable estimates of gross annual revenue. Several SERB expressed
a preference for reporting ranges for gross annual revenue rather than precise values. Several
SERB also remarked that most businesses take advantage oftax filing extensions and thus
typically do not have complete financial information for the prior year until many months later,
and asked how that situation should be addressed when requesting applicants' gross annual
revenue for the prior fiscal year.

Race, sex, and ethnicity ofprincipal owners. SERB were generally supportive of aligning the
race, sex, and ethnicity categories used for reporting demographic information about principal
owners in 1071 with the aggregate categories used in HMDA. However, one SER stated that the


29   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001178
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD        Page 52 of 90




Bureau should consider revisiting the use of male and female as categories for sex because
gender is not binary.

Similar to the data point addressing women-owned and minority-owned business status
discussed above, SERB also generally supported applicants' self-reporting of principal owners'
race, sex, and ethnicity and strongly preferred that FIs not be required to reportbased on visual
observation or surname analysis. Some SERB said FIs should not be required to guess the race,
sex, and ethnicity of principal owners, remarking, among other things, that doing so is both
extremely difficult and ineffective, and that collecting demographic information based on visual
observation makes staff uncomfortable. Another SER said that reporting demographic
information based on visual observation or surname analysis is likely to introduce both error and
bias to the process. One SER stated that FIs do not always meet with all principal owners of a
business in person and that FIs occasionally meet with a manager or officer who might not be a
principal owner. Conversely, another SER stated that—when relying on applicants to self-report
demographic information, there are higher rates of non-responses in the businesslending context
compared to consumer residential lending. This SER suggested that the Bureau's eventual 1071
rule will need to account for this disparity.

Some SERB requested that the Bureau develop a form to assist FIs with the collection and
reporting of the race, sex, and ethnicity ofprincipal owners. One SER suggested developing a
sample collection form similar to the one used for HMDA data collection, and including the
same opt-out disclosures.

Several SERB expressed familiarity with FinCEN's CDD rule, and supported aligning with that
rule's 25 percent ownership standard for defining a "principal owner" for 1071 purposes. One
SER said that aligning definitions with the CDD rule would be logical and efficient. Another
SER supported use ofthe CDD rule's concepts in determining who was a principal owner. Other
SERB said they currently collect this information for beneficial owners at or above 20 percent in
order to comply with SBA or other requirements and suggested aligning with that standard
instead.

8.9 SER feedback related to discretionary data points

SERB provided detailed feedback on the discretionary data points that the Bureau is considering.
One SER stated that the cost of collecting and reporting the discretionary data points under
consideration would be significant, and another SER stated that the Bureau should include as few
data points as possible to avoid unnecessary costs. Another SER stated that the Bureau should
finalize a rule with just the statutorily required data points and avoid adding any discretionary
data points. That SER suggested that if the Bureau does include discretionary data points, the
Bureau could consider providing an exemption from discretionary data point collecting and
reporting for certain small 1071 reporters, similar to the partial data point exemption approach
taken under HMDA.

Other SERB favored or opposed the inclusion of some or all of the individual discretionary data
points, as discussed below. Two SERB stated their support for the inclusion of all four
discretionary data points under consideration. One ofthese SERB suggested that the Bureau also
collect information regarding the way the application was taken(in person,by phone, or on-line)


30   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                        AdminRecord-001179
Case 7:23-cv-00144         Document 105-9         Filed on 08/01/24 in TXSD         Page 53 of 90




in order to monitor possible discouragement of applicants. The other SER suggested that the
Bureau also collect credit score information.

Time in business. Many SERB currently collect time in business information, explaining that
time in business information is valuable for measuring risk in underwriting. However, some
SERB collect this information on their application forms or keep it as part of a general narrative
in a credit memorandum about the application, but do not retain it as a specific data field in their
systems. Some SERB capture time-in-business information by recording the year, or
month/day/year, ofincorporation; others capture it as the number of years the applicant has been
in business. One SER stated that they do not supportthe inclusion oftime in business as a data
point in the NPRM, although they could collect this information.

Several SERB stated that they use State incorporation filings to determine or verify time in
business. Some SERB explained that they view a business as a start-up if it has been in business
either less than two or less than three years. For one SER,time in business is relevantfor the
specific line of business for which financing is sought, rather than the length of time the
applicant has been in some business generally. Another SER suggested that the Bureau use
ranges for time in business reporting, similar to a suggested method for collecting and reporting
gross annual revenue.

Number ofemployees. Many SERB indicated that they do not collect number ofemployees; one
of these SERB stated that they do not support the inclusion ofthis data point in an eventual 1071
rule, although they could collectthis information. Several SERs suggested that there could be
particular complexities in accurately capturing this data, particularly regarding how part-time and
seasonal employees and contractors should be counted. Some SERs stated that they collect
number of employees but do not verify that information.

NAILS code. A number of SERs stated that they collect NAICS codes from small business
applicants for a number ofreasons, such as understanding their concentration of credit in certain
industries or to comply with SBA,CRA, or CDFI Fund requirements. Two SERs stated that
collecting NAICS codes for 1071 would be useful for FIs to improve their understanding of
small business lending markets. Ofthe SERs that currently collectNAICS codes, the majority
said they capture the more precise 6-digit code; the remainder collectindustry information based
on the broader 2-digit code. One SER that currently collects NAICS codes stated that reporting
the 2-digit version would be less burdensome than reporting 6-digit NAICS codes. A few SERs
do not collect NAICS codes from their applicants. Some SERs that collect NAICS codes from
applicants stated that they do not verify the information, while some collect itfrom or verify it
against other documents, such as tax returns. (See section 8.4 above for feedback received
regarding the use of NAICS codes as part of the definition of"small business" applicants.)

Pricing. Some SERs urged the Bureau to require reporting of a pricing metric, stating,for
example,that pricing data is essential to understanding the operation ofthe market and the nature
of credit extended. Some SERs supported use of annual percentage rate(APR)as a pricing
metric, including several who stated that they currently calculate APR. One SER(a CDFI)
stated that they disclose APR to their applicants now, and thatif they are able to easily collect
and report this data point without additional cost and burden, other FIs should be able to do the
same. Several SERs supported the use of APR to enable comparisons of pricing across various


31   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                           AdminRecord-001180
Case 7:23-cv-00144         Document 105-9         Filed on 08/01/24 in TXSD         Page 54 of 90




small business lending products, and suggested the Bureau look to state-mandated and Truth in
Lending Act APR disclosures for guidance on methodologies. One SER supported the use of
APR as the metric if lenders and not the Bureau did the calculation. Another SER suggested the
Bureau collect detailed pricing information, including APR,but"hold harmless" the reporting
FIs to ensure the accuracy ofthe data. Conversely, at least two SERB opposed using APR as a
pricing metric; one cited the burden associated with making that calculation and the other said
pricing information based on APR would be confusing to small business owners.

Several SERB supported reporting pricing information as interest rate and fees. Two SERB
preferred using total cost of credit(TCC). One SER suggested that the Bureau consider allowing
FIs to choose which pricing metric they prefer to report.

Several SERB were concerned about the Bureau potentially making public pricing data and felt
that this choice could be costly and challenging to carry out, and that bad outcomes could result
from possible unjustified fair lending concerns, such as distortions to the marketthrough
interference with risk-based pricing. Many SERB remarked that pricing is complex and often
unique to the applicant's situation, and may involve extra services bundled with the loan,and
without adequate context pricing data could lead to inaccurate interpretations and reputational
damage to financial institutions. One SER stated that the market for small business credit is
competitive on price and that this data is not necessary for section 1071. Another SER said that
pricing for some products may reflect more thanjust the cost of the loan and may be high
relative to other credit products if the covered FI is a supportive lender working with less
established or higher credit risk applicants over a period oftime. Some SERB also expressed
privacy-related concerns regarding public disclosure of pricing information (this feedback is
discussed in section 8.14 below).

8.10 SER feedback related to the timing of data collection

Most SERB that addressed the issue oftiming for data collection indicated that they plan to
collect 1071 data, and particularly race, sex,and ethnicity data, early in the application process
and likely at the time an application is initially being completed. These SERB felt that the longer
they wait to request 1071 data, the more difficult or infeasible it will be to gather the information
from applicants. One SER that is currently required to collect race, sex, and ethnicity
information for certain government programs remarked that they have had success in gathering
this type of data early in the application process. Another SER urged the Bureau to give FIs
flexibility to explore optimal timing for collection of 1071-required demographic information so
to maximize the response rate and without discouraging applicants from pursing the application.
This SER suggested that race, sex, and ethnicity data should be collected during the application
process, but before the application is considered complete. Another SER stated that race, sex,
and ethnicity data may be difficult to obtain, especially early in the application process,if
obtaining credit is delegated to an officer, employee, or other third party who may lack relevant
knowledge concerningthe applicant's principal owners. One SER asserted thatHs currently
collectfew,if any, ofthe 1071 data points at the time of an application.




32    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                           AdminRecord-001181
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD        Page 55 of 90




8.11 SER feedback related to shielding data from underwriters and other
     persons(firewall)

Many SERB suggested that restricting access to demographic information obtained for purposes
of the 1071 rule (i.e., minority-owned business status, woman-owned business status, and the
principal owners' race, sex,and ethnicity) would be difficultfor their institutions. Additionally,
several SERs that take in-person or paper applications or that have very limited commercial
lending staff stated that it would be costly or impossible for them to restrict access to such
demographic information by underwriters and other persons involved in making determinations
concerning applications from small businesses. One SER indicated that, if the Bureau does not
allow a notice to applicants pursuant to section 1071(d)(2)in situations where restricting access
to demographic information is notfeasible, they mightleave the small business lending market
entirely due to the significant costs they would incur hiring additional staff or a third party in
order to appropriately restrict access to demographic information. In contrast, several SERs that
operate entirely online said that it would be relatively easy for them to restrict access to
demographic information. Another SER said thatthey could restrict access to demographic
information for applications they receive online(though not for paper applications), butthatit
would necessitate an overhaul of their online system.

SERs were supportive of providing a notice to applicants in lieu of restricting access to
demographic information obtained for purposes ofthe 1071 rule. Several SERs indicated a
preference for providing this notice to all applicants, notjust those specific applicants whose
demographic information was likely to be accessed by underwriters and others making decisions
regarding applications. One SER requested that the Bureau clarify when an FI would be
permitted to provide a notice in lieu of restricting access to demographic information. Another
SER said that use of the notice should be optional. This SER suggested that requiring the use of
a notice may cause confusion for the applicant and have unintended consequences of causing
unfounded claims of discrimination if the application is denied. Another SER asked that, if the
Bureau provided sample language for the notice, that the Bureau provide it in English as well as
in other languages, such as Spanish. However,one SER cautioned that many people do not read
notices and disclosures, and another SER suggested that FIs would not want to provide a notice
because the loan process already involves too much paperwork. One SER stated that sample
language for a notice should include a statement that underwriter access to demographic
information is not detrimental and that such accessis necessary due to the small size of the
lender.

8.12 SER feedback related to applicants' right to refuse to provide certain
     information

Some SERs were concerned that, if notified oftheir right to refuse, applicants may not provide
demographic information, thuslimiting the usefulness of 1071 data. One SER agreed with the
Bureau's proposal under consideration to limit the right to refuse to demographic data only.
Several SERs requested that the Bureau provide sample language for use in any disclosure and
collection forms in which an applicant's right to refuse is stated, so that applicants understand
why lenders are requesting demographic information and how the information will be used. Two



33   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001182
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD         Page 56 of 90




SERB asked that that Bureau provide sample language in English as well as in other languages,
such as Spanish.

8.13 SER feedback related to compiling, maintaining,and reporting 1071 data
     to the Bureau

SERB offered limited feedback on these aspects ofthe proposals under consideration. One SER
requested clarification on the statutory provision barring submission of personally identifiable
information (PII)to the Bureau, and specifically asked whether FIs were permitted to keep such
information in their own loan-level records.

With respect to reporting 1071 data to the Bureau, several SERB noted that they already report
much of the data that a 1071 rule would seem likely to require to the Treasury Department's
CDFI Fund. One SER requested that the Bureau coordinate with the CDFIFund on consistency
of definitions, types of data collection, and timing of reporting, and that the agencies should
consider streamlining reporting requirements through data sharing. One SER suggested that data
reporting be done on a calendaryear basis, to avoid half-year measurements. Another SER
requested that the Bureau permit FIs to report 1071 data on an ongoing basis rather than once a
year, which would make reporting less burdensome by completing it along the way as
applications are received or loans are made. One SER cautioned against aligning the annual
reporting dates for section 1071 with the reporting dates for HMDA,noting that reporting for
both regimes at the same time could strain resources.

One SER expressed strong support for the Bureau's proposal under consideration that the public
be directed to access 1071 data via the Bureau's web site, rather than requiring FIs to provide the
data themselves upon request.

8.14 SER feedback related to privacy considerations involving Bureau
     publication of1071 data

This aspect of the proposals under consideration generated considerable discussion among the
SERB. Many SERB were concerned about the possibility of the Bureau publishing data
identifying individual FIs or in other ways that could make the information traceable to specific
applicants, a concern that was strongestin the feedback of SERs operating in rural areas.

Specifically, a number of SERs were concerned that full disclosure of all 1071 data would result
in the re-identification of small business applicants or borrowers and potentially harm their
privacy interests. Some SERs stated that it would be easy to reidentify small businesses in
remote or rural areas(for instance,the only gas station serving a particular county). Several
SERs asserted that public knowledge of borrowing activity (even without any other potential
harms)would be very concerning to some small businesses as some small business owners
consider thatinformation sensitive or deeply personal. One SER stated that small business
owners valued their privacy just as much as consumers. Another SER stated that publishing
gross annual revenue information for sole proprietorships could be akin to disclosing the
personal income ofconsumers. A SER also stated that disclosure of denial reasons(if the



34   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001183
Case 7:23-cv-00144         Document 105-9        Filed on 08/01/24 in TXSD         Page 57 of 90




Bureau were to require it) would be humiliating for applicants and might discourage them from
applying for loans.

Relatedly, one SER said that the collection of 1071 data,including personal or demographic
information, could seem like an intrusion of privacy by the FI, particularly to minorities, and thus
prospective applicants may decide to seek financing elsewhere. Another SER raised concerns
that some prospective applicants' distrust of the Federal government(and concern over how
1071 data will actually be used) might adversely impact their ability to lend to the communities
they serve.

In response to these concerns, SERB offered a variety of suggestions. Regardingthe risk of
potential reidentification based on geography,one SER suggested that coveredFIs be able to flag
certain application records that the FIfelt were at risk for being easily reidentified, triggering
further analysis by the Bureau before full loan-level data was published. Another SER suggested
the reporting of geographic data only at the State level or higher, because even county-level data
in some areas could potentially lead to reidentification of applicants or borrowers. One SER
suggested that the Bureau set a minimum sample size before publicly disclosing loan-level data
for some rural markets to avoid harm.

One SER offered a contrary view on privacy, asserting that there has not been a single
demonstrated incident ofre-identification using HMDA data. The SER stated that 1071 data can
be robustly disclosed without raising privacy concerns if appropriate safeguards are put in place,
such as using tools for making data less precise (the SER suggested,for example, bucketing,
ranges, and intervals). Two other SERB supported aggregating and banding data to reduce the
risk of re-identification, stating that such measures were particularly important to protect privacy
in "banking deserts" where there are few FIs making loans to small businesses.

Some SERB expressed concern about privacy for an FI's own information under a 1071 data
release. A number of these SERs stated that 1071 data could be used to generate marketing lists,
resulting in an FI's competitors stealing small business customers. Two SERs suggested, by
contrast, that it was relatively easy to obtain information on other FIs' small business lending
activity. One SER said that a consequence of this could be that FIs choose to cease lending to
small businesses in certain markets. Two SERs stated that they were more concerned about the
privacy of small business applicants or borrowers than the privacy ofFIs, but that both mattered.

Several SERs were particularly focused on information regarding pricing and pricing structure
being commercially sensitive to FIs. One of these SERs suggested that even aggregate pricing
information was commercially sensitive data for an FL While acknowledging other SERs'
concerns, a few SERs stated thatinformation on competitors' pricing is relatively easy to obtain
now.

Some SERs were concerned that published 1071 data could be used against FIs in litigation by
class action attorneys or to harm their public reputations. One SER was concerned that
published 1071 data could lead to increased litigation and thus a higher cost of creditfor small
businesses. Another SER expressed concern that pricing information could be misinterpreted by
users of 1071 data(for example, according to the SER, higher pricing for one race might be used
to infer discrimination when the pricing was in fact unrelated to the race ofthe applicant). The


35   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                           AdminRecord-001184
Case 7:23-cv-00144         Document 105-9         Filed on 08/01/24 in TXSD         Page 58 of 90




SER noted that the purpose of section 1071 was to help small businesses, and asserted that
releasing full 1071 data would present an opportunity for third parties to sue or criticize FIs.
Several SERB suggested that a solution to their concerns aboutFI privacy would be for the
Bureau not to release the names ofFIs when publishing 1071 data.

In comparison to the number of SERB expressing general privacy concerns,fewer SERB offered
feedback on the balancing test itself. Several SERB said they appreciated the difficulty the
Bureau faced in trying to balance transparency and fairness in the marketplace with privacy
interests. One SER said the balancing test appeared to be subjective, indeterminate, and
dependent on the limitations of agency staff who may not understand the challenges FIs face in
building and maintaining their businesses.

Several SERB suggested that, to address the privacy risks posed to both small businesses and FIs,
the Bureau should not publish loan-level or applicant-level data at all, but instead just aggregate
data or provide general statistics. Other SERB emphasized the importance of public disclosure of
1071 data. One SER said that the 1071 rule could be a model for the marketplace and pro-
innovation if implemented with checks and balances. The SER also said that more transparency
would help governments and FIs understand what strategies are successful in reaching women-
owned and minority-owned small businesses and shed light on the marketplace and pricing
overall. Other SERB identified specific data points they believed were particularly important to
publish. Those SERB emphasized the importance ofpublishing pricing information(specifically
captured as APR)together with producttype for understanding the cost and availability of
financing products to small businesses,the importance ofNAICS code or other industry
information for determining which industries are getting funding generally, and the importance
of census tract or other geographic information for understanding the extent oflending to low-to-
moderate income small businesses.

Two SERB raised concerns that the transmission of 1071 data to the Bureau could give rise to the
risk of a data security breach involving I'll. One SER requested that FIs be held harmless if
there were a data security breach for which the Bureau was responsible.

8.15 SER feedback related to the implementation period

SERB generally supported a two-year implementation period. Several SERB with completely
online operations felt thattwo years was sufficient time to implementthe eventual 1071 rule;
some estimated that they could do it in less time. Some other SERB that do not have primarily
online operations and do not have experience with other Federal data reporting regimes such as
HMDA said it would be hard to project how long implementation would take, but that it could
potentially take three years or more. One SER said that two years would not be enough as
currently there are no data collection vendors for 1071 compliance. Another SER said clear and
concise definitions were important and expressed frustration that definitive answers to
compliance-related questions(whether from the Bureau or third-party vendors)can be hard to
come by, which could stymie implementation efforts. One SER suggested that itwas overly
optimistic for other SERB(mostly CDFIs)to say they would be able to implement 1071 quickly.

A SER requested that the Bureau regularly check in with vendors and FIs to ensure compliance
preparations are progressing as expected and consider extensions if issues arise. A few SERB


36    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                            AdminRecord-001185
Case 7:23-cv-00144                Document 105-9                Filed on 08/01/24 in TXSD                   Page 59 of 90




suggested that the Bureau adopt a grace period of some kind during which FIs would not be
penalized for erring in trying to comply with a 1071 regulation. This grace period would be akin
to the first year revisions finalized in 2015 to Regulation C(implementing HMDA)were
effective, when examinations were used to troubleshoot and perfect data reporting rather than
penalize reporters.

8.16 SER feedback related to potential impacts on small entities

8.16.1 SER feedback related to the Bureau's impact methodology

As discussed in section 3.15 above,for the purposes of estimating costs for the eventual 1071
rulemaking,the Bureau adapted the cost methodology from previous HMDA rulemaking to the
small business lending framework. To capture the relationship between complexity and cost, the
Bureau developed three representative FItypes, reflecting low, medium,and high levels of
complexity. The Bureau defined complexity based on seven dimensions: systems, integration,
automation, geocoding, completeness checks, edits, and compliance program. For the impact
analysis, the Bureau then developed a unique set of assumptions and cost estimates for eachFI
type.

Most of the SERB confirmed that to estimate costs FIs can be categorized based on the
complexity of their compliance operations. One SER stated that there is a large difference
between the medium complexity and high complexity representative institutions and the
methodology would benefit from a fourth category between those two levels. A few SERB noted
that their FIs have a higher acceptance rate on applications than the Bureau assumed for each
representative FI type. Several SERB suggested that the Bureau should include business model
orFI type as an additional dimension of complexity. Several SERB remarked that, while their
FIs have very automated processes in place, they frequently still have to manually collect
information. Five SERB identified themselves as Type A FIs (least complex),two SERB
identified as type B (moderately complex),one SER identified as type C(most complex), one
SER identified as between types A and B, one SER identified as between types B and C, and the
remaining SERB did not identify a type."

In general, SERB did not provide much feedback on the structure ofthe 15 activities the Bureau
used to form its estimates of ongoing costs. Two SERB remarked that the activities that comprise
the Bureau's ongoing costs estimates did notinclude the time to collect the information itself.
The Bureau assumed for purposes ofthe Outline that SERB will develop application forms to
collect the data points that would be self-reported by applicants; one SER explained that it would
take staff time to verbally gather some ofthe data points from applicants. Another SER
suggested that the process may not be linear, requiring the FI to go back and change data points
if they receive updated information,particularly for those data points for which the Bureau is
considering requiring verified data if verification is performed.



31 The Bureau's classification ofFIs into three broad tiers according to the overall level ofcomplexity oftheir compliance

  operations (i.e., Type A,Type B,and Type C FIs), and the resulting typical approach to certain aspects/dimensions of
  compliance costs based on level ofcomplexity,is discussed in detail in part IV.D ofthe Outline.



37     FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
       CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                     AdminRecord-001186
Case 7:23-cv-00144         Document 105-9         Filed on 08/01/24 in TXSD         Page 60 of 90




Two SERB who identified as Type A complexity stated that the Bureau's assumption thatlow
volume or Type A institutions use exclusively external auditing was not accurate for their
institutions. One SER indicated that they perform internal audits despite being a small institution
and the other remarked that while they do not have an internal auditor, per se,they do have
employees that perform thatfunction.

8.16.2 SER feedback related to one-time costs

The Bureau conducted a survey regarding one-time implementation costs for section 1071
compliance targeted at all FIs who extend small business credit. The survey was open for
responses between July 22,2020 and October 16, 2020. The Bureau granted the SERB an
additional two weeks after the deadline to provide survey responses directly to the Bureau via
email. The Bureau plans to use responses from the survey and feedback provided by the SERB to
estimate one-time costs for the NPRM.

The SERs confirmed that the eight categories that the Bureau uses to capture the components of
one-time costs are accurate. The SERB had a variety offeedback on their anticipated one-time
costs. SERB primarily differed based on how much data their FI is currently required to report.
Several SERB that are CDFIs explained that they already report many ofthese data points for
existing reporting requirements and,as a result, they anticipate very small one-time costs to
prepare for 1071 reporting. One SER(a community bank)stated that they had difficulty
estimating the one-time costs because they do not currently report anything similar to what is
under consideration for section 1071, as they do not report under FA DA or CRA and do not
report to the CDFI Fund. A few SERB remarked that it was difficult to estimate one-time costs
without knowing all of the details of the rule. One SER(a fintech company)stated that they do
not anticipate any one-time costs. Two SERB estimated that one-time costs would be between
$15,000 and $25,000 without a detailed breakdown of those costs. One SER provided a detailed
breakdown of costs and estimated that total one-time costs would be $27,000.

Several SERB stated that changes to their computer systems would contribute to their one-time
costs. A few SERB remarked that they might modify their systems in order to create new fields.
One SER (a commercial finance company)said that many FIs in their industry have no
experience reporting data such as will be required under an eventual 1071 rule and that their
current developer estimates that the costs just to develop, test, and integrate their system could be
up to $200,000. Another SER(a bank)estimated that it would cost approximately $5,000 to
upgrade their system. One SER mentioned that they may decide to update their entire system
sooner than expected in response to the eventual 1071 rule, which would cost an estimated
$125,000. (However, not all of that cost would be attributable to changes needed to comply with
the eventual 1071 rule.)

Several SERB suggested that they would rely on third parties to develop the capability to collect
and report data under the eventual 1071 rule. Many SERB use third-party software to track their
loans. Two SERB mentioned that they would wait to see what software services third parties
offer before deciding how to comply with the eventual 1071 rule. One SER mentioned hiring a
third party to train their staff on how to comply. One SER stated that they will rely on third
parties to develop policies and procedures. Another SER said they will have to hire a third party
to conduct a legal compliance review.


38   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                           AdminRecord-001187
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD        Page 61 of 90




Several SERB had suggestions for how the Bureau could defray small FIs' one-time costs. Two
SERB stated that the cost of developing policies and procedures will depend on how clearly the
Bureau provides guidance. One SER suggested that the Bureau could work with trade
associations to develop best practices. Several SERB agreed that the Bureau could reduce the
costs associated with upgrading software by building a system that would permit applicants to
provide their information directly to the Bureau.

8.16.3 SER feedback related to ongoing costs

The SERB had a variety offeedback on the Bureau's estimates of ongoing costs. Two SERs, one
bank and one credit union, who offered specific dollar amounts during the discussion indicated
that they expected annual ongoing costs to be around $9,000 and $2,500-$3,000,respectively.
Two SERs that are CDFIs stated that the increased ongoing costs will be minimal and one SER
who is a digital lender stated that the ongoing costs will be negligible. Several SERs indicated
that there is currently too much uncertainty to fully provide costs estimates at this point.

In addition to overall estimates, several SERs provided feedback on where the ongoing costs
estimates from the Bureau are likely too low. A number of SERs remarked that the annual
training costs estimates were likely too low. One SER estimated that training costs should be
around 20 percent higher and several suggested that the number of employees the Bureau is
assuming for training costs on an annual basis is too low. One SER,for example, stated that
everyone who interacts with customers will need to be trained and several indicated that the
scope of employees who will require training includes administrative and management staff, as
well as those directly involved in the credit process.

Several SERs asserted that the audit costs, particularly for Type A institutions, are too low. One
SER offered that, instead ofthe Bureau's assumed $500-$1,000for an external audit, the cost
would likely be closer to $3,500. Two SERs asserted that audit costs would not depend on
number of loans as much as the Bureau's estimates suggest, but that the audit estimate for Type
B would likely also apply to Type A institutions. One SER indicated that the Bureau's
assumption that Type A institutions do not conductinternal audits is incorrect. Two SERs also
suggested that, based on their experience with HMDA examinations, the Bureau's estimates of
examination preparation and assistance are too low. Additionally,two SERs said that checking
the data will be a significant ongoing cost, with one SER estimating that doing so will cost
around $2,000 in employee time for their institution to perform this activity and the other
asserting that their institution will need to contractfor a third party to check the data. One of
these SERs explained that the potential for negative examination results due to poor data quality
increases the amount oftime and expense to clean and check the data.

SERs also made several other specific comments about the ongoing cost estimates. One SER
stated that the hourly compensation the Bureau was using for cost calculations is assuming
employees are too junior given the complexity ofthe process and should be around $25 higher.
Another suggested that the transcribing data costs estimate is too low. One SER remarked that
researching questions and the annual subscription cost of 1071 data management or geocoding
software is too low. Lastly, several SERs suggested that the Bureau consider the opportunity
cost of the institution's time being used for small business data collection purposes instead of
assisting customers.


39   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001188
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD         Page 62 of 90




8.16.4 SER feedback related to additional potential impacts ofthe eventual 1071 rule

Two SERB expressed concern about the possible standardization or homogenization of business
credit products in response to the eventual 1071 rule. One SER stated that they would not
predict standardization in the credit process as they expected to continue creating individualized
products according to customers' needs. A number of SERB indicated concern about the
potential effects on public perception oftheir FIs and the possibility of having to defend
themselves from unjustified accusations and possibly even lawsuits. Some ofthose SERB
indicated that the data collected under the eventual 1071 rule would not be sufficient to explain
legitimate differences in rates of denial or interest rates. Several SERB suggested that small
business applicants' distrust of both the government and FIs could result in data collection under
the eventual 1071 rule turning away customers who may feel that their information would be
misused if supplied.

8.16.5 SER feedback related to the cost and availability of credit to small entities

When asked if they expected the costs ofthe eventual 1071 rule to be passed on in the form of
higher rates and fees, a number of SERs(from banks, credit unions, and non-DIs)indicated that
they expected to do so at their institutions. However,a number of other SERs indicated that they
did not believe an eventual 1071 rule would result in higher rates or fees. Several DI SERs said
that they would be able to absorb the costs in their operating budgets as they have with previous
regulations.

SERs generally indicated that they did not expect the costs ofthe eventual 1071 rule to affect the
small business loan product mix that they offer. One SER did state that they have business loans
thatlook very similar to consumer loans and that could be recategorized as consumer loans to
avoid the reporting costs under the eventual 1071 rule.

Several non-DI SERs indicated that sizeable costincreases could lead to a tightening of their
underwriting standards or other changes, such as altering their product mix or an increase in their
minimum loan amount. Additionally, one SER suggested that with high enough fixed costs of
compliance, state usury limits could affect the provision ofcredit to higher risk borrowers. Two
SERs stated that they would not change any underwriting standards as a result ofincreased costs.

Generally, SERs did not suggest that they would leave the small business lending market in
response to increased costs under the eventual 1071 rule. One non-DI SER did indicate that
smaller firms in their industry may stop participating if one-time costs are too high, particularly
if small business lending is a secondary aspect oftheir business model. Another non-DI SER
indicated that significantly increasing the time between application and decision could occur due
to the eventual 1071 rule requirements, which they said would threaten their ability to compete
with other lenders.




40   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001189
 Case 7:23-cv-00144          Document 105-9        Filed on 08/01/24 in TXSD         Page 63 of 90




 9. Panel findings and recommendations
9.1 Findings regarding number and types ofsmall entities affected

For the purposes of assessing the impacts of the proposals under consideration on small entities,
"small entities" are defined in the RFA to include small businesses, small nonprofit
organizations, and small governmentjurisdictions. A "small business" is defined by the SBA's
Office of Size Standards for all industries in the NAILS. The Bureau has identified several
categories of small entities that may be subject to the proposals under consideration: DIs(such as
commercial banks,savings associations, and credit unions), online lenders/platform lenders, non-
DI CDFIs,lenders involved in equipment and vehicle financing(captive financing companies
and independentfinancing companies), commercial finance companies, governmental lending
entities, cooperatives,and non-profitlenders. According to the SBA's Office of Size Standards,
DIs are small businesses if they have $600 million or less in assets. The maximum size standard
for any of these non-DIs to be considered small is $41.5 million in average annual receipts,
though several have lower thresholds(see table 3 below).

 Table 3 provides information from the 2019 Call Report(Commercial Banks,Savings
Institutions, and Credit Unions)and the Census Bureau's Statistics of U.S. Businesses for 2012
(all other categories) on the total number of entities and the total number of small entities within
 each NAICS industry that maybe subject to the proposals under consideration. The NAICS
 categories are likely to include firms that do not extend credit that would be covered by the
 proposals under consideration. In a few NAICS categories, only a very small number of firms
 are engaged in small business lending and would therefore be covered by the eventual 1071 rule.
For example, category 8 13410includes entities such as social clubs and scouting organizations
 as well as other entities, most of which will not be engaged in lending covered by the proposals
 under consideration.

 Table 3: Total number of entities and total number of small entities that may be
 covered under an eventual 1071 rule, by NAICS industry

                                                                     Stiniate'd      Esti mated
                                        NAkIC$
                                                                    number bf        number of
                                        code

      Co m,                             522110,
                                                    $600 million
      insti                             522120
      Credit unions                     522130      $600 million    5,348            4,837
      Sales financing                   522220      $41.5 million   2,347            2,097
      Consumer lend ing                 522291      $41.5 million   3,260            3,135
      Real-estate credit                522292     - $41 5 mlHion   3,233            2,854
      Mortgage and nonmortgage loan
                                        522310      $8 million      7,007            6,843
      b rokers

murocessing, reserve, al
Tearing house activities


 41      FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
         CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                             AdminRecord-001190
Case 7:23-cv-00144               Document 105-9                Filed on 08/01/24 in TXSD                  Page 64 of 90




     Commercial air, rail, and water
     transportation equipment rental            532411          $35 million          613                   566
     and leasing
     Civic and social organizations             813410_ _M=_$8 millio


Table 4 provides the number of small DIs thatthe Bureau estimates may be coveredby the
eventual 1071 rule based on the coverage metrics and thresholds under consideration, based on
small loans to businesses of all sizes by banks and commercial loans by credit unions in 2018.32

Table 4: Small entity Dis covered under potential exemption metrics and
thresholds under consideration"

                                                                                                                     ..............
     Fit bdloWthteshold would be                                                             institutions 0ovsred
                                                                                             un'dereach threshold
     Originations of 25 loans or $2.5 million or more              293                       3,554 - 3,690
     Orginations of 50 loans or $5 million or more                  189                      3,026 - 3,221
     Originations of 100 loans or$10 million or more               93                        2,199-2,
     $100 million in assets or more                                 1,129                    2,888
     $200 million in assets or more                                572                       1,675



9.2 Findings and recommendations regarding related Federal laws and
    regulations

As discussed in section 2.3 above,the Bureau in its Outline identified other Federal statutes and
regulations related to small business lending that have potentially duplicative, overlapping or
conflicting requirements with section 1071. SERB also provided suggestions of other potentially
related Federal statutes and regulations. The statutes and regulations identified by the Bureau
and by SERB include HMDA,CRA,the SB Act, and the Community Development Banking and

32
 The Bureau uses 2018 as abase year for these estimates because that is the mostrecent year for which the necessary data are
 available. In particular,the Bureau relies on CRA data for estimates ofDI coverage.
33
  Table 4 presents arange ofestimates for the number ofbanks/savings institutions covered by the activity-based thresholds
 based on internal Bureau calculations because not all banks and savings institutions report originations ofsmall loans to
 businesses. The table reports the exact numbers ofcredit unions covered by the activity-based thresholds based on the number
 oforiginations that credit unions report on their call reports. However,credit unions only reportloans made to businesses with
 origination amounts greater than $50,000. The Bureau did not estimate the number ofloans to small businesses that credit
 unions make with origination amounts less than $50,000. As a result,the Bureau expects that more credit unions that will be
 required to report under each threshold than what is reported in this table. The table reports exact numbers ofDIs covered by
 the asset-based thresholds because all DIs report total assets on the call reports.



42      FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
        CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                   AdminRecord-001191
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 65 of 90




Financial Institutions Act of 1994 which established the CDFI Fund. Some SERs also identified
other statutes they believed had some potential intersections with section 1071,including the Fair
Credit Reporting Act as amended by the Fair and Accurate Credit Transactions Act, and the
Gramm-Leach-Bliley Act, which is implemented in part by Regulation P.

The Panel recommends that the Bureau continue to evaluate the extent to which these and other
Federal laws and regulations have potentially duplicative, overlapping, or conflicting
requirements with section 1071,and that the Bureau continue to coordinate with the other
Federal agencies responsible for relevant laws and rules.

9.3 Compliance burden and potential alternative approaches

Based on the oral and written feedback from SERs on the Bureau's proposals under
consideration, as summarized in section 8 above, the Panel has the following recommendations.

9.3.1 General recommendations

The Panel recommends that the Bureau issue implementation and guidance materials(including
a small entity compliance guide as required by the RFA, as well as other materials), specifically
to assist small FIs in complying with the eventual 1071 rule. The Panel also recommends that
the Bureau consider providing sample disclosure language related to the collection ofrace,sex,
and ethnicity information for principal owners as well as women-owned and minority-owned
business status.

9.3.2 Recommendations regarding scope of the rulemaking

The Panel recommends that the Bureau continue to explore whether the data collection and
reporting requirements in its 1071 rule should be limited to any application to an FIfor credit
only for small businesses(as defined by the Bureau's regulation) or whether it should also
extend to applications for women-owned and minority-owned businesses that are not small. The
Panel also recommends that the Bureau seek commentin the NPRM on the costs to small FIs of
collecting and reporting 1071 data regarding applications for creditfor women-owned and
minority-owned businesses that are not small(as defined by the Bureau's regulation).

9.3.3 Recommendations regarding definition of"financial institution'(lender coverage)

The Panel recommends that the Bureau continue to explore whether either or both a size-based
or activity-based test might be appropriate to determine whether an FI must collect and report
1071 data or should be exempt, given section 1071's statutory purposes. The Panel also
recommends that the Bureau continue to explore whether the fixed costs of coming into
compliance with an eventual 1071 rule might cause certain FIs to reduce or cease lending to
small businesses, as it considers the possible exemptions for FIs based on size and/or activity,
along with any alternative approaches.




43   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001192
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 66 of 90




9.3.4 Recommendations regarding definition of"small business" applicants

The Panel recommends that the Bureau seek to adopt a definition of"small business" that is easy
for small business applicants to understand and straightforward for FIs to implement, while still
collecting comprehensive data regarding lending to small businesses. As the Bureau noted in the
Outline, adopting a simplified approach will necessitate close coordination with, and approval
from,the SBA. The Panel also recommends that the Bureau consult with the SBA Administrator
and the SBA's Division Chieffor the Office of Size Standards in advance of issuing an NPRM to
implement section 1071 in order to determine whether any ofthe three alternativesfor a "small
business" size standard set forth in the Bureau's Outline,or another alternative that would be
easy for small business applicants to understand and implement, should be included in an NPRM
put outfor public comment.

Further, the Panel recommendsthat the Bureau continue to explore how information that small
FIs may or may not currently collectfrom small business applicants (specifically, gross annual
revenue, number of employees, and NAICS code)mightinform the potential selection ofan
alternative for a "small business" size standard.

9.3.5 Recommendations regarding definitions of"women-owned business," "minority-
      owned business," and "minority individual"

In light of SERB' concerns regarding certain aspects ofthe statutory definitions of"women-
owned business" and "minority-owned business," the Panel recommends that the Bureau seek
commentin the NPRM on potential interpretations ofthe definitions ofthose terms thatwould
clarify them for purposes ofthe eventual 1071 rule, to ensure that small business applicants are
able to understand questionsbased on these definitions(for the data point regarding women-
owned and minority-owned business status).

The Panel also recommends thatthe Bureau consider clarifyingthat, consistentwith the
aggregate categories for race and ethnicity in HMDA,a "minority individual" is a natural person
who is Black or African American, Asian, American Indian or Alaska Native,Native Hawaiian
or Other Pacific Islander, and/or Hispanic or Latino. In addition,the Panel recommends that,
similar to HMDA,the Bureau considers permitting applicants to select multiple race and
ethnicity categories.

9.3.6 Recommendations regarding product coverage

The Panel recommends that the Bureau continue to explore the extent to which covering MCAs
or other products, such as factoring, would further the statutory purposes of section 1071, along
with the benefits and costs ofcovering such products.

The Panel recommends that the Bureau address in the NPRM whether it intends to cover
agricultural and real estate-secured loans in the eventual 1071 rule.

The Panel recommends that the Bureau continue to explore the potential costs to FIs associated
with reporting consumer-designated credit used for business purposes in the eventual 1071 rule
as well as the implications ofincluding such credit in a small business lending data set. In


44   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001193
Case 7:23-cv-00144                  Document 105-9               Filed on 08/01/24 in TXSD                  Page 67 of 90




addition, the Panel recommends that the Bureau seek commentin the NPRM on how best to
define consumer-designated credit used for business purposes in the event the Bureau determines
that an exclusion for such products is appropriate.

9.3.7 Recommendations regarding definition of an "application"

Ifthe Bureau proposes using the Regulation B definition ofthe term "application"for 1071 data
collection, the Panel recommends that the Bureau consider clarifying when a completed
application—i.e., an application sufficient to make a credit decision—falls within the Regulation
B definition ofthe term "application." The Panel further recommends the Bureau seek comment
in the NPRM on the benefits and costs ofcollecting 1071 data on incomplete or withdrawn
applications. In addition, the Panel recommendsthe Bureau seek comment in the NPRM on
whether to include line increases as a separate reportable application.

9.3.8 Recommendations regarding mandatory data points

Regarding data points in general, the Panel recommends that the Bureau consider proposing in
the NPRM that applicant-provided data points be self-reported by the applicant only, without an
obligation for the FI to verify the information provided by the applicant.

The Panel's recommendations regarding each ofthe mandatory data points are addressed in turn
below.

 Whether the applicant is a women-owned business, a minority-owned business, and/or a small
business. In order to assist both small FIs and small business applicants,the Panel recommends
that the Bureau consider creating sample collection forms that, to the extent possible, simply and
clearly explain the information being requested for purposes ofthis data point. The Bureau
should additionally consider providing these sample collection forms in other languages, such as
Spanish. (Other Panel recommendations relevant to this data point are addressed in section 9.3.5
above regarding the definitions of"women-owned business," "minority-owned business," and
"minority individual.")

Application/loan number. The Panel recommendsthatin the NPRM the Bureau consider
proposing to permit FIs to report"dummy" application/loan numbers assigned specifically for
1071 reporting purposes, rather than the numbersthey use internally.

Application date. The Panel recommends that the Bureau seek commentin the NPRM on how
best to define "application date"for the eventual 1071 rule in light of how it decides to propose
defining an "application."14

Loan/credittype and loan/creditpurpose. The Panel recommends that the Bureau consider
modifying the product type,guarantee,and loan/credit purposes lists in accordance with the
various suggestions made by SERB.



34
     The Panel's recommendations regarding the definition ofan "application" are addressed in section 9.3.7 above.




45       FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
         CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                                                     AdminRecord-001194
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD         Page 68 of 90




The Panel recommends that the Bureau seek commentin the NPRM on how FIs currently handle
increases in lines of credit and how best to require reporting of this data pointfor multiple lines
of credit within the same account.

Credit amount/limit appliedfor and credit amount/limit approved. The Panel recommends that
the Bureau seek commentin the NPRM on potential methods for avoiding misinterpretations of
disparities between the credit amount/limit applied for and the credit amount/limit approved.

Type ofaction taken and action taken date. The Panel recommends that the Bureau further
clarify the circumstances in which each ofthe action taken categories should be used. The Panel
also recommends the Bureau seek commentin the NPRM on whether to capture counteroffers in
1071 data, and if so, the best method for doing so.

Census tract(principalplace ofbusiness). The Panel recommends that the Bureau seek
comment in the NPRM on the feasibility and ease of using existing Federal services to geocode
addresses in order to determine census tractfor 1071 reporting purposes(such as what is offered
by the FFIEC for use in reporting HMDA data).

Gross annual revenue. In light of SER feedback supporting the Bureau's proposal under
consideration to not require FIs to verify gross annual revenue information, the Panel
recommends that the Bureau proceed with that approach in the NPRM. The Panel also
recommends that the Bureau explore the timing of tax and revenue reporting, and seek comment
in the NPRM on how that timing can best be coordinated with the collection and reporting of this
data point.

Race, sex, and ethnicity ofprincipal owners. In order to assist both small FIs and small
business applicants, the Panel recommends that the Bureau consider creating sample collection
forms that, to the extent possible, simply and clearly explain the information being requested for
purposes of this data point. The Panel also recommends that the Bureau additionally consider
providing such sample collection forms in other languages, such as Spanish. In addition, the
Panel recommends that in the NPRM the Bureau propose to align its rule with concepts of
ownership and control that exist in other Federal regulations with which FIs are already
complying,to the extent possible.

9.3.9 Recommendations regarding discretionary data points

Time in business and number ofemployees. If these data points become part ofthe proposal,
the Panel recommends that the Bureau continue to explore ways to minimize the burden to small
FIs of collecting and reporting these data points.

NAILS code. If this data point becomes part of the proposal, the Panel recommends that the
Bureau continue to explore ways to minimize burden on both the small FIs collecting this
information as well as the small business applicants who need to provide it, for example the
possibility of collecting the 2-digit NAICS code rather than the 6-digit code.




46    FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
      CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001195
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD        Page 69 of 90




Pricing. If this data point becomes part ofthe proposal, the Panel recommends that the Bureau
seek commentin the NPRM on potential methods for avoiding misinterpretations ofdisparities
in pricing.

9.3.10 Recommendations regarding the timing of data collection

The Panel recommends that the Bureau seek commentin the NPRM on whether it is necessary to
specify a time period specifically for the collection of 1071-required demographic data, and if so,
what would be the best period to designate.

9.3.11 Recommendations regarding shielding data from underwriters and other persons
      (firewall)

The Panel recommends thatin the NPRM the Bureau propose to permitFIs to provide a notice to
applicants instead ofrestricting access to demographic information if it is notfeasible for the FI
to restrict such access. The Panel also recommends thatin the NPRM the Bureau propose a clear
feasibility standard that takesinto account the costs ofestablishing and maintaining a "firewall"
to limit access by underwriters and other persons,as well as clear guidance on what information
is subject to the firewall requirement.

9.3.12 Recommendations regarding applicants' right to refuse to provide certain
       information

The Panel recommends that the Bureau consider developing sample disclosure language that FIs
may use to provide some context as to why applicants are being asked to provide demographic
information,in order to encourage applicants to respond.

9.3.13 Recommendations regarding compiling, maintaining, and reporting 1071 data to the
       Bureau

The Panel recommends that the Bureau seek commentin the NPRM on these aspects of a 1071
rule, and how best to implementthem in a manner that minimizes cost and burden to small FIs.
The Panel also recommends that the Bureau explore ways to streamline reporting for small FIs.

9.3.14 Recommendations regarding privacy considerations involving Bureau publication
       of 1071 data

The Panel recommends that the Bureau seek commentin the NPRM on the range of privacy
concerns articulated by SERB,including potential reid entification ofsmall businesses and FIs, as
well as the types of privacy harms and sensitivities the unmodified release of 1071 data could
cause to FIs and small business applicants.

The Panel also recommends thatthe Bureau seek commentin the NPRM on the potential
benefits of publishing unmodified 1071 data, especially given section 1071's statutory purposes
of facilitating fair lending enforcement and business and community development.




47   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                         AdminRecord-001196
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD         Page 70 of 90




The Panel further recommends that the Bureau offer more detail in the NPRM on the balancing
test it is considering and how it is proposing to apply the balancing test to the 1071 data fields
that the Bureau decides to propose. The Panel also recommends that the Bureau seek comment
in the NPRM on how it should design and implementthe balancing test.

9.3.15 Recommendations regarding implementation period

The Panel recommends that the Bureau seek commentin the NPRM on the sufficiency of a two-
year implementation period, and in particular what aspects of a 1071 rule might require more or
less time to implement. The Panel further recommends that the Bureau seek commentin the
NPRM on ways to facilitate implementation for small FIs, particularly those that have had no
experience with any kind ofFederal data reporting regime.

9.3.16 Recommendations regarding potential impacts on small entities

The Panel recommends that the Bureau incorporate feedbackfrom SERB and analysis from the
Bureau's one-time cost survey in its estimation of one-time costs for purposes ofits
consideration ofcosts and benefits in the NPRM,and to seek commentin the NPRM on its
revised estimation of one-time costs ofimplementingthe eventual 1071 rule.

The Panel recommends that the Bureau consider incorporating ongoing costs suggestions from
SERB into the Bureau's estimation methodology for purposes ofits consideration ofcosts and
benefits in the NPRM,and to seek commentin the NPRM on its estimation of ongoing costs of
implementing the eventual 1071 rule.

The Panel recommends that the Bureau continue to explore with small FIs the extent to which
they believe compliance costs will pass through to small businesses or affect the composition of
the small business credit market.




48   FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
     CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001197
Case 7:23-cv-00144           Document 105-9        Filed on 08/01/24 in TXSD         Page 71 of 90




APPENDIX A: WRITTEN FEEDBACK SUBMITTED
BY SMALL ENTITY REPRESENTATIVES


Written feedback submitted by the following SERB is attached:

     •    Chris Enbom, AP EquipmentFinancing
     •    Joel Schiller, Artisan's Bank
     •    Ryan M. Warner, Bippus State Bank
     •    Landon Capdeville, Floorplan Xpress
     •    Barry Feierstein, Fundation Group LLC
     •    Ryan Metcalf, Funding Circle
     •    William J. Bynum (letter from Diane Standaert), Hope Credit Union
     •    Brooke Van Vleet, InRoads Credit Union
     •    Kwesi Rogers, Kore Capital Corporation
     •    Tawney Brunsch, Lakota Funds
     •    Robin Romano, MariSol Federal Credit Union
     •    Luz Urrutia, Opportunity Fund
     •    Julieann Thurlow,Reading Cooperative Bank
     •    Sarah Getzlaff, Security First Bank ofNorth Dakota
     •    Debbie Jones, UT Federal Credit Union




49       FINAL REPORT OF THE SMALL BUSINESS REVIEW PANEL ON THE CFPB'S PROPOSALS UNDER
         CONSIDERATION FOR THE SMALL BUSINESS LENDING DATA COLLECTION RULEMAKING




                                                                                          AdminRecord-001198
Case 7:23-cv-00144            Document 105-9          Filed on 08/01/24 in TXSD           Page 72 of 90




November 9, 2020

Consumer Financial Protection Bureau
SBREFA Panel Staff for Section 1071 Proposal

To whom it may concern:

The following submission is in coordination with my participation in the CFPB's SBREFA panel held
d uring October of 2020, and the underlying proposal upon which the SBREFA panel was asked to review.

Once significant concern that I have with the proposal is that I believe that asking for pricing data
without asking for credit data is dangerous and can lead to misinterpretations. In order to gain a fair
and complete picture regarding the lending environment to small businesses, a complete profile of the
lender must be taken by the CFPB if pricing data is collected. Pricing data in a vacuum only tells a small
part of a lender's story, and the data is likely to be ammunition for other lenders and lawyers with
nefarious aims.

As an example, AP Equipment Financing provides a myriad of services to our customers as part of our
financing to our last mile delivery customers. Our company maintains a pool of new specialized vehicles
for our customers that we order in conjunction with large commercial fleet dealers. We have a
transportation department that handles delivery of the trucks. All of our services are bundled with
financing. In addition, we generally require no down payment and other banks require a down
payment.

I n addition, we finance the whole credit spectrum.

Bank Leasing Company "A" may get business from brokers who know exactly what the credit window is,
so their approval rates may look better. In addition, bank "A" only approves Tier 1 credits and only sees
Tier 1 credits from the brokers.

AP finances all types of Fed Ex contractors from start-ups to Tier 1 credits. Contractors know they pay
slightly more for our services because they are bundled. So if we just put out pricing, our approved
transactions may look something like:
 Company                     Term                      Rate
 Company A                   72 Months                 5.9%                        50,000
 Company B                   60 Months                 9.5%                        50,000
 Company C                   48 Months                 14%                         50,000
 Company D                   60 Months                 5.9%                        50,000



 AVERAGE                                               8.825%

What you do not know, is that company B has a tax lien and poor credit, and company C has no
operational history. Both would be declined by Bank Leasing Company.

The Bank Leasing company may look like the following:
 Company                  I
                         Term                       Rate



50




                                                                                                 AdminRecord-001199
Case 7:23-cv-00144           Document 105-9           Filed on 08/01/24 in TXSD            Page 73 of 90




 Company A                  60 Months                  4.9%                       50,000
 Company B                  60 Months                  4.9%                       50,000
 Company C                  48 Months                  5.9%                       50,000
 Company D                  60 Months                  4.9%                       50,000



 AVERAGE                                               5.15%

Again, in a vacuum this data makes our company look like a bad actor, even though we have provided
credit to customers who would normally not be eligible for credit, and we are providing bundled
services.

For the borrower, with enough data it is also possible to triangulate to find data regarding individuals or
groups of borrowers that is not data those borrowers want released into the public domain. We had the
example of the one plumber in the Warm Springs Indian Reservation in Central Oregon — a very small
community with very few providers of any services. It maybe possible to triangulate data back to the
borrower, who may already be distrustful of government to begin with. This may force certain
borrowers to decline to provide the data.

AP believes strongly you should stick to the original intent of the law. What small businesses are
applying for credit and which companies are being denied. What is the size of those businesses and
ethnic and gender status of the ownership of the companies.

Expanding the scope of data collection and reporting could have consequences to lenders and
borrowers you did not intend.

Making the data public, especially when mixed with pricing and other data (without underlying credit
data) that could paint a deceiving picture of a lender, will only be used by competitors and bad-acting
class action lawyers for personal gain, with the end result being less competition for lenders to riskier
businesses.

Keep the data within the CFPB and use it as a starting point to determine internally if institutions might
be discriminating. Don't allow data, especially data that paints an incomplete picture, to be released to
the public to be used as a witch hunt. You may find a couple witches, but you will likely harm many
other valid companies providing great lending services to minorities along the way.

Additionally, we strongly suggest that the CFPB exempt smaller lending institutions at a size much larger
than is being considered. The overwhelming majority of lending is done by very large banks and other
financial players. In our market, institutions like Ford Motor Credit, Daimler Financial, Wells Fargo
Commercial Credit, Key Bank and other large institutions dominate the lending landscape. Companies
like ours are small sliver of overall loan volume, and we generally have higher cost of funds and higher
operating costs per transaction. At the same time, we provide valuable lending to many businesses, a
large percentage of which are minority owned businesses. Increased regulation and reporting will
continue to push smaller lenders out of the market.

Lastly, we urge the CFPB to have a portal which will allow data regarding ethnic and gender status to be
collected directly from our potential customer, eliminating any potential compliance issues within our



51




                                                                                                  AdminRecord-001200
Case 7:23-cv-00144          Document 105-9          Filed on 08/01/24 in TXSD           Page 74 of 90




small company. This is the concept originally proposed by the Equipment Leasing and Finance
Association, of which we are a member. We believe technology should allow the CFPB to collect the
data and upon completion of a form instantaneously notify finance companies.

I appreciated the opportunity to serve on the SBREFA panel. I appreciate the fact you are listening to
smaller stakeholders.

Best Regards,




Chris Enbom




52




                                                                                                AdminRecord-001201
Case 7:23-cv-00144                       Document 105-9    Filed on 08/01/24 in TXSD   Page 75 of 90




     Ax ISAw J 7tl1VK
        A HletaryofService - Sime 1861




November 05, 2020


Consumer Federal Protection Bureau
c/o 2020-SB REFA-1071(&fpb.2ov
Small Entity Representative Response Letter


                                               Artisans' Bank Overview

Artisans' is a Mutually Owned Community Bank in Wilmington Delaware owned by our
depositors since 1861. We have 12 branches all within Delaware. Our CRA Assessment area
includes all three counties in Delaware but does not include any census tracts that exist in the
contiguous counties within these metropolitan areas. As a market footprint, however, we do
include the contiguous counties in PA, MD,and NJ.

At December 31, 2019, Artisans' maintained a Balance Sheet of $541 million, with total loans of
$390 million. Commercial Real Estate represented $192 million; Commercial and Industrial
loans $35 million; Construction loans of $46 million; and Residential Real Estate of $117
million.

Within the C&I category, Artisans' offers commercial loans and lines for working capital, asset
acquisitions, and equipment financing, a streamlined small business product for our smallest
customers, and a variety of commercial real estate loans. Our Commercial Real Estate portfolio
includes Owner Occupied and Non-Owner Occupied commercial and retail space, hotels, and
office buildings as well as loans to finance the construction or acquisition of non-owner occupied
residential (1-4) and multi-family properties. Our loan size is typically <_ $1 million,(average
of $275,000) although we also make larger loans up to our legal lending limit.

Our Small Business Lending product is a streamlined credit product for our smallest commercial
borrowers. The underwriting requirements for this product are less detailed and the loans can be
approved and funded quickly. The product is typically capped at $150M and is focused on C&I
opportunities. Small business real estate lending, given their more extensive documentation
requirements, is traditionally underwritten as a commercial real estate loan.

As an Intermediate Small Bank, we continue to optionally report CRA Small Business Data
annually. We do so because we continue to maintain our internal data collection processes and
the formal reporting of the data, does not represent a burden to our institution.




                                                                                                   I
53




                                                                                            AdminRecord-001202
Case 7:23-cv-00144          Document 105-9          Filed on 08/01/24 in TXSD           Page 76 of 90




Our 2019 CRA Small Business Register contained 107 Small Business loans for $29 million; no
small CRA Farm loans, and 1 Community Development loan for $148,000, that wasn't otherwise
reported in our 1-EVIDAor CRA filings. We also identified four other commercial transactions
for $4.2 million that have strong CRA Community Development attributes which we retain for
CRA Examiner review — so we are looking forward to being able to submit potential community
development transactions for advanced regulatory consideration under the DFA 1071 proposals.

Our Bank's detailed feedback on the DFA 1071 proposals follow. We hope you find this
information useful when crafting the proposed regulations.

                                  Detailed DFA 1071 Feedback
 Exemptions — As a mutually owned community bank, originally established to serve the Artisans
(or working people) of Wilmington Delaware, Artisans' Bank supports the spirit, as well as, the
 technical requirements of the Community Reinvestment Act. As such, Artisans' supports the
 proposals which include as many lenders as possible in the 1071 data collection and reporting
 process. In our view, this is why the CRA law was passed and why we remain an optional reporter
 of the current CRA small business data. To us, the collection of data provides important fair
 lending information which outweighs the costs of establishing and maintaining these data
 collection and reporting processes.
Definition — Artisans' supports the proposals to simplify the definition of what is a small business
loan. As a non-SBA lender, in our opinion, this should ideally be the same over under $1 Million
GAR Call Report definition that we use for CRA data collection and reporting. If this method is not
permissible under the proposals, we would support option 1, then option 2. We prefer an over
under or range approach to income and not a precise GAR amount. We do collect and utilize the
global cash follows of not just our borrowing entity but their affiliated entities. We currently do not
collect the number of employees or time in business but could add these to our data collection
process. We are supportive of reporting the NAICS code with each transaction (as we already
determine this information) and are supportive of using a simplified two-digit NAICS code. Option 3
is way too complicated in our opinion.
Self-Identification — Artisans' strongly supports the proposals which rely on the applicant's own
statement of whether a business is minority and/or women owned — with no obligation to verify the
information. Similar to HMDA GMI and BSA Beneficial Ownership, there must be a uniform format
for the collection of this attestation, and we support collecting this data at the time of application.
There will be compliance costs to not only collecting the information (several minutes per loan) but
we are more concerned about the anticipated zero-tolerance audit and compliance cost impacts,
which based on our experience based on the HMDA GMI and BSA Beneficial Ownership data
collection rules, are significant.
Exclusions — Artisans' supports proposals which exclude consumer designated credit. Artisans'
does not deal with Leases, Trade Credit, Factoring, or Merchant Cash Advances. While Artisans'
would support proposals to include the reporting of commercial credit granted for the purpose of
acquiring, improving, or refinancing non-owner occupied residential real estate, there needs to be
an exclusion for borrowers who own less than three such properties. We do a lot of commercial
lending in this business segment, which in our opinion, is not small business lending, but private
entity lending to high-worth individuals.




                                                                                                          2
54




                                                                                               AdminRecord-001203
Case 7:23-cv-00144          Document 105-9          Filed on 08/01/24 in TXSD           Page 77 of 90




Application —Artisans' does not use a written application for its business lending, although we do
have an internal mechanism to determine an application date and an application number.
Artisans' supports the grace period concept and suggests that each data reporter be allowed to
define their application date; as long as they report the date consistently. Artisans' also supports
the proposals to exclude line of credit renewals, unless additional funds are advanced; as most
our business line of credit renewals are administrative with only a one or two-year duration.
Amount — Artisans' support proposals to report the original amount requested versus the amount
approved, so that the data is meaningful. We would strongly oppose reporting all counteroffers,
however, as negotiation is quite prevalent with small business lending. Also, collateral based
lending is highly LTV dependent on the determined value of the collateral.
Discretionary Elements —Artisans' supports the proposals to report a simplified NAICS code.
We do not support proposals to report number of employees or the time in business, however, we
could collect this information. We strongly oppose the proposals to report APR. APR would be a
burden as we do not calculate an APR for our business lending and our systems would require
modification to accommodate APR. Moreover, some small business loans are very complex and
calculating an APR, that would provide meaningful information about the loan, would be
extraordinarily challenging. We also do not support reporting specific denial reasons, which we do
collect on business loans but would need to establish internal processes to ensure the reasons
reported are accurate.
Pricing Info — As we mentioned, Artisans' is strongly opposed to reporting APR. We would be
willing to be willing to report the Interest Rate and the specific fees (origination/prepayment) that
we collect on business loans and the term of the loan.
Firewall — Artisans' has concerns around the firewall concept. As a community bank, typically
only our lenders (and maybe their administrative assistants) have direct contact with our
borrowers. These lenders already provide the HMDA GMI disclosure to our commercial applicants
and are already involved in the loan approval process. It would be an added expense to insert
another party into this process. Also, due to our community bank mission and our support of CRA,
we want to make loans to underserved groups and therefore we want our lenders to be involved in
the customer contact process.
Reporting — As an alternative to the Bureau's proposals for reporting the data, Artisans
recommends combining the reporting of the 1071 data with the current CRA small business
reporting requirements. In our opinion, maintaining a separate 1071 register would be an added
expense to maintain, scrub, and report. Artisans' does not support proposals for the public
release of data, unless it is redacted to prevent identification of the borrower or the bank. If the
consumer agencies wishes to access the 1071 data, they should interact directly with the Bureau
and not involve the data reporters.
Costs — We have completed and submitted a 1071 Cost Survey and have estimated our one-time
costs as approaching $27,000 and our ongoing annual expenses as approaching $7,500. We
consider ourselves a Type A institution and we voluntarily reported 107, 97, and 87 small business
loans on our last three CRA Small Business Registers.
Our cost information support is as follows:

1071 Cost Survey
       R1.   Bank
        R2.     Urban
        R3.     Facilitated PPP loans through a third-party platform (Lendio)


                                                                                                        3
55




                                                                                                AdminRecord-001204
Case 7:23-cv-00144          Document 105-9         Filed on 08/01/24 in TXSD         Page 78 of 90




         R4.    CRA Definition. (Loan Amount; GAI; we collect NAIC
         R5.    Between $250M-$600M (slightly over $600M as of Sept 30, 2020)
         R6.    Equally Split between business lines and loans and CRE. No Ag. No optional.
         R7.    Info not readily available
         R8.    51%-75%
         R9.    Minimally Automated
         R10.   We collect all the mandatory data points
         R11.   HMDA. Optional CRA
         R12.   $7,000 in HR Expense (Plus External Costs See Below)
         R13.   Inhouse
         R14    N/A
         R15.   Both. Initially by Compliance — External Before Next Exam
         R16    No
         R17.   One Time Costs $20,000(See next page)
         R18.   $9,000 in Ongoing Costs (See next page); $20,000 in External Costs
         R19.   Accept Lower Profits
         R20.   None



                                        $82 hr.       $55 hr.        $27 hr.
General Preparation                     35 hours      5 hours        5 hours
U pdating Comp Systems                  5 hours       1 hour         1 hours         $5,000 est.
System Testing & Validation             5 hours                                      $5,000 est.
Forms and Applications                  10 hours                                     $5,000 est.
Training                                5 hours       1 hour x 10    1 hour x 10
Policy Procedure                        5 hours       5 hours
Post Implementation                                                                  $5,000 est.
Totals                                  $5,000        $1,000         $1,000          $20,000




                                                                                                   4
56




                                                                                           AdminRecord-001205
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 79 of 90




Training                             6 hrs. _ $500 1 hr. _ $500    1 hr. _ $500

Compliance Audits                                                                 $3,500 est.


                                          Conclusion
As a mutually owned community bank, originally established to serve the Artisans'(or working
people) of Wilmington Delaware, Artisans' Bank supports the spirit and the technical
requirements ofthe Community Reinvestment Act and Section 1071 of the Dodd-Frank Act. As
such, Artisans' supports those proposals which include as many lenders as possible in the 1071
data collection and reporting process. And while we would love to be excluded from a cost
perspective; in our view, inclusion is why the CRA law was originally passed and why we
remain an optional reporter of the current CRA data.

That being said, simplification should be everyone's overriding objective. Simplification in
determining who is excluded, what products are excluded, defining a small business loan; data
reporting processes, and clarity around the mandatory and discretionary data points are all
important issues to us. Also important to us, would be limiting the 1071 data to fair lending
audits and not subjecting it to the wide berth of technical audit and compliance requirements.
We support keeping the 1071 data reporters out of the public disclosure arena: include a
disclosure on how the public can access the data at the bureau, eliminate the need for the data
reporters to maintain any type of"Public File", and provide the means for the public/consumer
advocacy agencies to interact directly with the bureau.

Thank you again for allowing me to participate in the SBREFA process.

Respectfully

JOEL SCHILLER

Joel Schiller
SVP & CRO: Compliance & CRA Officer
Artisans' Bank
2961 Centerville Road
Wilmington, DE 19808

Cc:
Jennifer A. Smith, U.S. Small Business Administration, Office of Advocacy
Lindsay M. Abate, U.S. Office of Management and Budget, Office of Information and
Regulatory Affairs




                                                                                                  s
57




                                                                                        AdminRecord-001206
Case 7:23-cv-00144            Document 105-9             Filed on 08/01/24 in TXSD          Page 80 of 90



 From:            Rvan Warner
 To:              2020-SBREFA-1071
 Subject:         SBREFA Panel Feedback.
 Date:            Friday, October 30, 2020 10:52:28 AM


C~ rIr!'MN - TO email oniginated from a non-                                                      ..
                                              - -------Uomam:DUNM ai6k fifikso pen attac en s un ess
eou recognize and/or trust the sender. Contact Cybersecurity Incident Response Team (CSIRT)at 202-435-7200 or
;epozl a suspiclous Vinail.

 This email is to provide feedback from the two days of SBREFA Section 1071 panel discussions. Not
 sure of the proper format for this feedback, so I wil l just list item by item;

 I wil l begin by stating that when I use the term "small business", I am also referring to women owned
 a nd minority owned businesses as well. I am just trying to shorten my narrative.

Exemption of Ag loans —
Ag loans are a specialized type of loan with specific underwriting characteristics. There is no such
thing as a "start up" ag loan. Farming requires considerable capital investment for someone to
"decide" to start farming. The closest thing to a start up farmer is a relative of a current farmer that
has an opportunity to farm a small piece of farm land or has the chance to purchase some farm
ground. This person is already working on the family farm, has knowledge of farming and has access
to farm equipment that he does not have to rent or own. We utilize the Beginning Farmer
G uarantee Program which is through the USDA/FSA (Farm Service Agency). To qualify you must be
i n a certain age range and/or limited experience and is unable to obtain credit elsewhere.

 There is another program that is run through the USDA. This program is for Minority and Socially
 Disadvantaged Farmers Assistance. This provides help to those qualifying farmers and ranchers so
 that they are aware and can navigate through the myriad or farm programs, guarantee assistance
 a nd risk management help the USDA offers.

 Because Ag loans are distinct and separate from "business loans." not likely considered or designed
 to be covered by 1071. 1 believe that Ag loans should not be included as a covered product under a
 1071 rulemaking.

 Should Ag loans not be exempted, then Farm Credit Services MUST be required to report their loans
 as well. They are the single largest Ag lender in the country. There would be no reason to require
 other lenders to report Ag loans and Farm Credit be allowed to be excluded.

 Location Test and Exempting Rural Lenders

 The CFPB should create a 1071 location test that should follow very closely or mirror the rule that
 H MDA follows for lender exemption. Under HMDA, a bank that does not have a home or branch
 office in a MSA is not subject to regulation C (regulation implementing HMDA).

 Capturing 80 Percent of Data while Burdening only 20 Percent of Industry.

 The small number of total loans that each rural lender makes will not affect the validity of the info

58




                                                                                                    AdminRecord-001207
Case 7:23-cv-00144          Document 105-9          Filed on 08/01/24 in TXSD           Page 81 of 90


 that is received from the larger lenders. The 80/20 rule certainly applies where 80% of all loans will
 be captured by 20% of the lenders. The other 80% of lenders, primarily small rural lenders not in an
 MSA and serving small communities, will provide the other 20% of the small business loans. Those
 20% of banks however will spend 80% of the total cost because of the complete start from ground
 zero on this type of data capturing process. The large banks already have data capture software and
 processes in place for HMDA. I do not see the necessity of burdening these small banks with this
 cost to provide data that is only going to compliment and not add unique perspective to the data
 provided by large banks. I would state a cost vs benefit analysis would show that very little
 additional useful information is being obtained for the huge costs all the banks would have to spend
 to provide this information.

 I surveyed 6 other community banks across northern and central Indiana and asked them what
 percentage of business loan applications or requests are approved. I received a consistent 80 t0 90
 percent of requested small business, women owned and minority owned applications are approved.
 This number is equally consistent with my bank.

 CFPB Portal

 I brought up the possibility of a portal, managed by the CFPB that would allow small lenders to
 access a portal and submit the info on a loan by loan basis. This process could be implemented as
 part of the closing document preparation. If small rural lenders are required to report, this would
 allow those lenders to avoid some sort of costly data maintaining and subsequent reporting of small
 business loan data software. Addresses would be part of the data provided and could automatically
 be geo-coded immediately through this portal. This data checklist could be maintained with the loan
 file for any examiner to review or could be scanned into a separate file. I am not in favor of that, as
 it adds an additional step in the closing process and can be missed through simple human error.
 Leaving the data sheet in the loan file for future need would be the easiest. Obviously if banks
 wanted to scan into a central file, they could.

 Application Date

 When a small business is interested in obtaining a loan or wants to discuss the possibility of asking
 for a loan, this process is never the same between any two borrowers. Some small businesses come
 i n prepared with more information than you need while others will be bring in one piece of
 i nformation at a time. A business tax return can be completed months before the personal return is
 completed. We would need both to properly underwrite the loan. We would also need info on the
 collateral being used, a personal financial statement since the borrower will be asked to guarantee
 the loan personally in virtually every case. Once the needed info is received, the underwriting can be
 completed. This underwriting could be used for multiple loan requests throughout the year. My
 suggestion for "Application Date" would be the date the loan is approved or denied after
 u nderwriting is finished.

 Loan Amount

 The NCUA does not consider loans below $50k as commercial loans purely from a safety and

59




                                                                                                AdminRecord-001208
Case 7:23-cv-00144          Document 105-9          Filed on 08/01/24 in TXSD           Page 82 of 90


 soundness perspective in the NCUA's call report. These loans are stil l recognized as "commercial
 loans" by NCUA but are not necessarily required to be underwritten as such. I propose that these
 loans need to be reported by each credit union. If they are allowed to be excluded, then all lenders
 should be provided that same $50k and under reporting exclusion.

 Privacy

 Any reporting structure that is created should not allow any data being obtained and reported be
 a ble to be traced back to a particular small business. The public data should be in some sort of
 aggregate that would require small business anonymity. In large urban areas where there are many
 small businesses this would not be a problem. In a small community where there is one tool and die
 shop, or one Mexican restaurant, or one auto repair shop or whatever the business, the public data
 cannot be so granular as to be able to identity a particular business in a community.

 I again want to thank the CFPB for allowing me to participate in this process. I look forward to
 continuing to participate in this process in any way that I can provide value. The industry of
 community banking is to important to small and rural communities across our county and I am
 happy to be a champion of this cause.

 Thanks again.



 Ryan M. Warner
 Chairman & CEO

     z IPPUS

           ANK
 Bippus State Bank
 150 Hauenstein Road, PO Box 1148
 Huntington, IN 46750

 T.260.356.8900 F: 260.356.8787
 www.BippusBank.com




60




                                                                                               AdminRecord-001209
Case 7:23-cv-00144    Document 105-9        Filed on 08/01/24 in TXSD       Page 83 of 90




           Statement Submitted to the Consumer Financial Protection Bureau
                SBREFA Session for Section 1071 of the Dodd-Frank Act
                                October 21-22, 2020



     Statement Submitted by Landon Capdeville, Vice President, Floorplan Xpress, LLC




61




                                                                                  AdminRecord-001210
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD        Page 84 of 90




Thank you for the opportunity to participate as a Small Business Representative (SER)for the
SBREFA Panel convened October 21-22, 2020. 1 appreciate the opportunity to provide a written
statement regarding the implementation of section 1071 of the Dodd-Frank Wall Street Reform
a nd Consumer Protection Act, Section 1071.

M y comments refer mainly to small business loans made by small non-bank financial
institutions and those lenders which serve as an ancillary to another business to drive sales.
However my recommendations, where appropriate, apply to larger traditional financial
institutions as well.

There has been significant discussion and research concerning section the impact of section
1071. Common concerns focus on redundancies and burdens potentially placed banks which
currently report data under the Community Reinvestment Act (CRA), Equal Credit Opportunity
Act(ECOA) Home Mortgage Disclosure Act(HMDA), along with other reporting requirements of
regulated financial institutions.

There has been limited discussion and focus as to the impact on non-bank lenders which
primarily serve small business, many of which are women and minority owned. These small
lenders are an underrepresented class of lender which, while not in the spotlight, play a vital
role in providing essential credit to small business in the United States.

The stated purpose of section 1071 is to "facilitate enforcement of fair lending laws and enable
communities, governmental entities, and creditors to identify business and community
development needs and opportunities of women-owned, minority-owned, and small
businesses."15 U.S.C.1691c-2(a).

The intended purpose of provision 1071 is commendable. However, an unfortunate reality of
well-intended regulation is the unintended consequences. Too often additional regulations
result in unforeseen burdens. The potential burdens of section 1071 could make it difficult for
small lenders to feasibly meet the requirements which could negatively impact their ability to
continue to extend credit to small businesses.




62                                              2



                                                                                         AdminRecord-001211
Case 7:23-cv-00144        Document 105-9         Filed on 08/01/24 in TXSD         Page 85 of 90




1071 will bring with it, new regulations requiring many lenders to report data, many of these
lenders have never been required to report information.

Small lenders are often able to serve the needs of small businesses more effectively than large
institutions, as small lenders have the flexibility and latitude to make loans based on factors
outside those typically relied on by larger institutions.

If section 1071 is implemented in a manner which adversely affects small business lenders,
especially those for which lending is not their primary business, many of those companies may
withdraw from lending to small businesses.

As small lenders leave the market due to increased reporting and compliance costs, the overall
credit available to minority-owned, and small businesses in general will be reduced, negatively
impacting the women-owned, minority-owned, and small businesses section 1071 was
intended to protect.

It is imperative that any regulation be crafted carefully to avoid unintended consequences
which would impair the ability of small lenders to continue to provide financing and credit for
small business.




Define small business

The CFPB should set a clear definition of small business. This definition should not require
lenders use the North American Industry classification system (NAICS) codes to determine if the
company is a small business.

Adapting a simple gross income revenue benchmark, to identify if a business is a small business
would significantly reduce the burden of reporting particularly for those lenders who do not use
or have any knowledge of the North American industry classification system (NAICS.)

I n finalizing the definition of small business, it should be clear that a person who obtains
consumer credit is outside the scope of 1071. The stated purpose of section 1071 is to help
facilitate and monitor small business lending to women owned and minority owned small
business. It should be made clear that the provision relates only to small businesses.

Data collection and disclosure

Section 1071 requires lenders identify women-owned, minority-owned, and small businesses.
Additional data collection includes but is not limited to: race, sex, and ethnicity of the business
owners, the type and purpose of the loan, amount of credit applied for, credit approved, the
business's gross annual revenue, and "any additional data that the [CFPB] determines would aid
in fulfilling the purposes of this section."


63                                              3



                                                                                          AdminRecord-001212
Case 7:23-cv-00144        Document 105-9        Filed on 08/01/24 in TXSD         Page 86 of 90




This overly broad catch-all language implies the CFPB has extensive latitude in determining the
volume and breadth of data points required under Section 1071. This language, if implemented
could lead to the addition of multiple data fields increasing the complexity and cost of reporting
data by financial institutions.

The CFPB needs to establish a clear and concise list of the fewest number of data points
possible. Lenders must be able to easily report collected data in order to minimize the burden
a nd related costs.

All collected information should be limited to an aggregate level data set with limited public
disclosure. Steps must be taken to eliminate the possibility that sensitive information can be
traced back to an individual, their business or any specific financial institution.

Publicly accessible information should not contain specific transaction information, identifiable
products, narrowed geographical information or lender information. Disclosure of such
information could allow competitors access to customer data and proprietary information.
1071 is not intended to serve as a source for customer data mining and marketing. Any and all
necessary steps should be taken to prevent the misuse of data.

The CFPB has under consideration allowing the collection and reporting of information be
based solely on applicant self-reporting. The CFPB could adopt the small business registration
process advocated by the American Financial Services Association (AFSA) and the Equipment
Finance and Leasing Association (EFLA). Businesses would register with CFP and submit data on
whether they are a women or minority owned business, race, sex, ethnicity, census tract, and
gross annual income. The existing standard penalties for false reporting to a federal agency
would apply, to improve the accuracy of reporting.

Women owned and minority owned businesses could use the CFPB website to submit all
required information. If they qualify as a small business a CFPB small business number would be
issued. Lenders would only be required to report that number along with the application
results (e.g. loan approved or denied, counteroffer, etc.). Only the CFPB would know which
small businesses with a CFPB small business number are women or minority owned businesses.

Utilizing a self-reporting system would benefit small lenders by relieving them of the burdens
related to the collection and reporting of data.

Financial institutions should be able to rely on self-reported information submitted by the
a pplicant when applying for credit. It should not require lenders independently /3" party verify
data. Much of the self-reported data it is not readily verifiable and a requirement to do so
would result in additional time and expense to the lender.

Annual renewals of credit lines, or line increases should not be reported as applications. In
certain industries credit lines and loans limits may fluctuate from season to season. A small


64                                              4



                                                                                         AdminRecord-001213
Case 7:23-cv-00144                 Document 105-9       Filed on 08/01/24 in TXSD             Page 87 of 90




business may receive an increased credit line during a certain time of year but will not have
filled out an application. If renewals and line increases are considered applications and must be
reported the lender will be unable to comply without significantly changing how they do
business. Intermingling loan renewals and credit line changes may skew the data causing
misinterpretation.

Defining Financial Institution

U nder section 1071(h)(1) a "financial institution" is defined as "any partnership, company,
corporation, association (incorporated or unincorporated), trust, estate, cooperative
organization, or other entity that engages in any financial activity." 1

The Bureau has under consideration a proposal to create a general definition for "financial
institution" consistent with the definition of financial institution in section 1071.' This overly
broad definition contains the ambiguous term "financial activity" which itself does not have a
standardized definition and could be applied to a myriad of entities. It can only be assumed the
broad definition is not intended to include all business entities who are engaged in any financial
transaction.
It is not appropriate nor viable to attempt to interpret the intent of such a broad definition. The
definition of financial institution must be clear and specific. Financial institutions must be
identified as only those lenders involved in lending to small business as it pertains to the
implementation of section 1071.

Unintended consequences

1071 reporting requirements will impact traditional banks, credit unions, and depository
lenders along with small non-bank lenders. Many of the small non-bank lenders who loan to
small businesses have never considered themselves to be "institutions" of any type. Under
1071 these small lenders would be considered financial institutions and subject to reporting
requirements.

Non-bank financial institutions neither collect nor report data on small business financing.
Many small non-bank financial institutions have very few employees, each who wear several
hats throughout the day. Many of these small lenders focus on relationship lending rather than
statistical reports to determine loan eligibility. Often these small lenders have customers for
many years who have revolving lines of credit, agricultural loans, inventory financing to name a
few.

It is not feasible for these small lenders to create a firewall so the underwriter is not aware of
the race, ethnicity or sex of the applicant. In small financial institutions the employee who


1   15 U.S. Code § 1691 c-2(h)1.
Z Small Business Advisory Review Panel for CFPB Small Business Lending Data Collections Rulemaking, Discussion

Guide for Small Entity Representatives, 2020



65                                                     5



                                                                                                      AdminRecord-001214
Case 7:23-cv-00144             Document 105-9             Filed on 08/01/24 in TXSD               Page 88 of 90




gathers the information for the application is often involved in the underwriting and loan
a pproval process.

Non-bank financial institutions collect very few, if any, of the data points at the time of an
a pplication as required by Section 10713 in the ordinary course of business. Often there is no
data gathered during a credit line extension or credit line increase. These small non-bank
financial institutions rely on relationships and past payment history of the borrower to
determine credit eligibility.

Among the proposed data points is census tract data, it is safe to say that small financial
institutions do not collect information on the census tract. The applicant's address is gathered
d uring the credit application process, however few non-bank financial institutions collect the
census tract data, most don't know what census tract data is. Requiring such information would
require additional training, system modification, programming and increased costs of
compliance.

Many of these non-bank financial institutions do not understand the myriad of acronyms used
in the daily communications of regulated financial institutions and government agencies like
the CFPB. While this may seem laughable at first it is an example of momentous challenge in
implementing 1071. CFPB must be prepared to allocate adequate resources for education and
training.

Examples of financial institutions, which generally are not well known, but almost exclusively
serve small business include equipment, vehicle, and revolving lines inventory financing
companies. Also included would be those businesses for which lending their focus but rather
a n ancillary designed to enhance their core business.(See the Appendix for an example of
inventory financing as an ancillary to an auto auction)

The cost of data collection, complying with data security requirements and burden of reporting
a large detailed amount of information is a serious concern. The combination will likely be
enough for many of these small lenders discontinue lending. If this occurs less credit will be
available to the small businesses.

U nder 1071 the CFPB has the authority to exempt financial institutions from its data


s The data points identified for reporting under section 1071 include:
•       Application number;
•       application date;
•       type and purpose of the financing;
•       amount applied for;
•       amount approved;
•       type of action taken and action taken date;
•       census tract of the principal place of business;
•       gross annual revenue in the last fiscal year of the applicant preceding the date of the application; and
•       information about the race, sex, and ethnicity of the business principal owners.



66                                                       6




                                                                                                          AdminRecord-001215
 Case 7:23-cv-00144                 Document 105-9         Filed on 08/01/24 in TXSD                Page 89 of 90




 collection requirements: "the Bureau ... may conditionally or unconditionally, exempt
 a ny financial institution or class of financial institutions from the requirements of this
 section, as the Bureau deems necessary or appropriate to carry out the purposes of this
 section."'

 The CFPB should consider an exemption for financial institutions which meet certain criteria.
 The American Financial Services Association (AFSA)set forth a simple list of criteria if met
  would exempt certain classes of financial institutions which meet the following:
 (1) Originate fewer than 100 loans to small businesses,
 (2)finance fewer than 100 small business customers or
 (3) are a small business themselves (defined either as a business with fewer than 100
 employees or a business that meets the SBA's definition of a small business - $35.5 million in
 a nnual receipts for non-depository institutions)

 Concerns over data being misinterpreted is a concern of financial institutions. Data must be
 collected in a way which does not allow for ambiguity. Many factors may cause incorrect
 conclusions being drawn by regulators.

 Data may also be misinterpreted by simply showing approval and denial rates without
 consideration of applicant credit quality, collateral quality, existing obligations or the myriad of
 other factors which can be determining factors in a credit decision.

 I naccurate conclusions may also be drawn based on data from certain industries. For example,
 the data for automotive inventory finance companies will likely show a high percentage of
 inventory financing made to automobile dealerships owned by men. The fact that most
 inventory financing is made to white men is not an issue of discriminating against women. It is
 simply accredited to the fact most automobile dealerships in the United States are owned and
 run by men. According to General Motors in 2016 about 11% of the combined automakers
 dealerships were owned by women and minorities.6

 I n order for 1071 to achieve its intended purpose the CFPB must craft a regulation which is
 clear, not unduly burdensome to follow, and provide quantifiable data which is for which value
 can be derived.




 4
     15 U.S. Code § 1691 c-2(g)2.
 5 Himpler, Bill, American Financial Services Association. Letter to: Ms. Monica Jackson, Office of the Executive

 Secretary, Consumer Financial Protection Bureau, Request for Information Regarding the Small Business Lending
 Market(Docket No.: CFPB-2017-0011)

'Sawyers, Arlena. GM plansfor more dealerships to be owned by minorities, women, 2016,
https://www.autonews.com/article/20160411/RETAIL06/304119994/gm-pla ns-for-more-dealerships-to-be-
owned-by-minorities-women




 67                                                        7



                                                                                                            AdminRecord-001216
Case 7:23-cv-00144       Document 105-9        Filed on 08/01/24 in TXSD        Page 90 of 90




CFPB must put a system in place to take as much burden off the reporting lender as possible. In
addition, there must be clear guidance with a great deal of specificity in the descriptions,
instructions and templates. Many lenders who will be required to report under 1071 have
never reported anything before this — the CFPB must keep this in mind.




68                                            8



                                                                                      AdminRecord-001217
